      Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 1 of 105 PAGEID #: 1107




                             STATE OF OHIO                                                   CASE NO. CR83-1 2- 10614

                                                 PI aln-tl ff                                STATE OF OH 10
                                                                                             COUNTY OF Blffi ER
                             vs.                          FILED In Common Ple11s Court       OOURT OF CO~N PILEAS
                                                          BUTL~R COllN1 Y\ OIUO
                                                                               1             (Bruewer , P.J.; M~ser,
                             VON CLARK DAY I S , r.,.      .         '   :                   and St l ts lnger, J .J.)
                                                   ()_;

                                           Defendant              JAN 19 1~C:3               J«>TION
                                                                      ~   .
                                                             EDWARD S.- ROBB, JR.
                                                                          : : Ct.

                                       Now comes John F. Holcomb, Prosecut ing Attorney, and r eque1sts that the

                             tr Ia I   cour-t schedu I e a da-te for          se ntencI ng hearIng before t he! t hree-ju dge

                             pane l    as mandated by the Oh i o          Supreme Court ' s    decision    In   St<ate v.   Davi s

                             (1988), 38 Ohio St. 3 d 361 ,         i nasmuch as the Supreme Court of the United States

                             has den ted defendant ' s        pet ition for a writ of certiorar i ,           by order entered

                             Ja nuary 17, 1989, (copy of notice of order at tached).



                                                                                    JOHN F. HOC.OOfi'B
                                                                                    PROSECUT I t«7 ATIORNEY

       I                                                                            BUTLER COUNTY. OHIO




                                                                                    DANI EL G. EICHEL
                                                                                    FIRST ASS I STANT PROSECUT II~ ATIORNEY
                                                                                    BUTLER ())UNTY, OH 10
                                                                                    2 16 Society Bank Build ing
                                                                                    Hami l ton, Ohio 45012-0515
                                                                                    Te lephone: (513)887- 3474

                                                                  PROOF OF SERVICE
                                    ThIs I s t o cer tIfy that a copy of the foregoIng Mot I on was served by
                             U.S. ordinary mal I to John A. Garretson , Michael D. Shanks , and Timothy R.
                             Evans , At torney s f or Def endant , at the ir respective offices, th is 19th day of
                             January, 1989.




      OFnCEOF
 PROSECUTING A TTORNEY
                                                                                    DANIEL G. EICHEL
  BUTL[fl COUNTY. OHIO                                                              F I RST ASS I STANT PROSECUT lit«; AlTORNEY
    JOHN I' HOLCOMB                                                                 BUTLER COUNTY • OHIO
 PROSECUTING ATTOR NEY




218 SOCI ETY BANK BUILOING
        P.O. DOX515
   HAM ILTON. OHIO 4 5012




                                                                                            VON CLARK DAVIS v. WARDEN
                                                                                                 CASE NO. 2:16-cv-00495
                                                                                                  APPENDIX - Page 1073
       Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 2 of 105 PAGEID #: 1108




                             STATE OF OHIO                                                  CASE t«>. CR83-12-0614

                                            Plaintiff                      :            STATE OF OHIO
                                                                           P,\eas Court COUNTY OF BlJTLER
                             vs.
                                                      f\L£\)L'" camm~'f'f, oato         COURT OF CCMI)N Pl. EAS

                             VON   a.~ DAY I S        'B\lTl.'UR CO        ·
                                                                F£.8 6 1~.~ fl '            ENTRY
                                        Defendant


                                            It    appear i ng to the Court that the Mandat e of the Supr,eme Court of

                             Ohi o herei n ordered th at            t he j udgment of conviction her e in was affirmed but

                             the    death        sent ence   wa s    rever sed   and        th e   ca use   was   remanded    " for   a

                             resentencI ng hearing at whI ch               the   st ate may         seek what ever   punIshment       is

                             lawfYI 1 Incl uding, but not I l ml ted to t he death sentence," in acc1::1rdance with
                             th e decis ion In State v. Davis (1988 ) , 38 Oh i o St. 3d 361 , 373 ,

                                            IT IS THEREFORE ORDERED t hat              a pretrial hear i ng shall         be heard I n

                             t he courtroom of          JUOOE HENRY J. BRUEWER on Febr uar y 24th ,                  19139 , at 8:45
                             o'clock a. m.,        before J udge Br uewer ,        Judge Will i am R.        Stitsinger    and Judge

                             John R. Moser.

                             APPROVED AS TO FORM:                                      E NT E R

                             JOHN F. HOLCOI>f3
                             PROSECUT ING ATTORNEY
                             BUTLER COUNTY, OHIO


                                                                                                   I'




       OF F I C.EO~
 PROSECUTING ATTORNCY
  BUTLER cOUN TY, OHIO

    JOHN f   HOLCOMB
                                                                                   '   ..
 PROSECUTING A TTORNEV




Zl6 SOCIETY BANK BU ILDING
                                                                        J903GPii6:!
        ~0 BOX515
   HAMILTON, OHIO • 5012




                                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                                        CASE NO. 2:16-cv-00495
                                                                                                         APPENDIX - Page 1074
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 3 of 105 PAGEID #: 1109


        Form OPD•E-202                                                                                Barrett          -     rs, Publishers, Springlield, Ohio

                           APPLICATION, ENTRY AND CERTifiCATION
                                                          FOR ASSIGNED CO'UNSKL FEES
        In the Common Pleas                                                                      _u_ t _l_e_r_ _ _ _ _~
                                                                                      Court of __B                                                                      Coun ty
        STATE OF OHIO ·                                                                  rt
        CITY OF     rHmll ton                         '     CamfttGf' Pleas Cou
                                      PlaJil1ftDL•
                                                 ! n couNTY,
                                         vs:BUT ""u.
                                                                                    HIO
                                                                                         CASE NO. __;C:::..:R
                                                                                                            ::..:.:8:::..:3::...-__;1:;,.:2::....-.....:0::..:6::..;1:;,;4~-·---


           VON CLARK DAVIS                                  f[8 ' 0 ·~--~~
                                    Defendant
                                                  EDWAKD S, llOBB,
                                                          APP~ION
              The undersigned having been previously appointed counsel for the Defendant moves this Court for a n or-
        der approving payment of fees and expenses as indicated below and in the attached itemized statement pursuant
        to section 2941.51 and 120.33 of the Ohio Re.vised Code.                                            '
                               2 !.. . 1..=
        Date of AppointmenL: _=.         1..=
                                            0.!....1_:3:....:4:.___ _ __

        H ours Worked: In Cowt           - - - - ---=..--                          Out ol Coun._ _ _ __ _ __
        Legal Fees: s    2,500 . 00               -       ;'2-50 "...!:.-
                                                              •     o<'>
        Expenses (if any): S 170. 25 r 13C, .-
        Total: s 2 , 6 7 o . 2 5    lf; 3 g 6 ~
                                                                        Dia~ition
        0 . R. C . Charge Section Number and Name:                                                                                                      Yea                 No
              a)   Agg . Murder w .               Spec.                            Pleaded Guilty to Indict ment                                                             X

              b)                2903.01                                            Pleaded Guilty to Lesser Charge                                                        ....x_
                                2929.04 (A-5)                                                                                                              X
                                                                                   Went to Trial
              c) - - - - - - - - - - - - - - - -
                                                                                   Retolults      ~ilt;t               - death Eenal ~=:i
              ~--------------------------
        OFFENSE CLASSIFICATION - (Circle Appropriate Oassification                                      For Bach Charge)                                                  JJ'' J


              a)     AGO Fl        AGG F2         AGO F3           Fl        F2         F3          F4           Ml            M2            M3            M4            MM




~~...
              b)     AGO ·F t      AGG F2         AGO FJ           Fl        F2         F3          F4           Ml            M2            M3            M4            MM
              c)     AGO Fl        AGO F2         AGO F3           Fl        F2         F3                       Ml                          M3            M4            MM
              d)     AGO Fl        AGGF2          AGO F3           Fl        F2                                                              M3            M4            MM
                                                                                                                                                                             ***
      Mlke Shanks was employed at                                            - . Sign
      Holbrock & Jonson Law Firm,                                                                                                           Street
      3 15 S. Monument Avenue ,                                                                   Hamilton, OH                              4 5011
      Hamilt o n , OH 4 50 11, at the                                             Name and Address
      time of this case .                                                          Michael D. Shanks


                                                                                  Social Security N um ber:

                                                                            ENTRY
            This Cow·t finds that counsel performed the leg al services set forth on the attached itemized Statement;
        and that the fees and expenses, set forth on said Statement are reasonable, and are in accordanc:e with the
        resolution of the Board of County Commissioners of
        relating 10 payment of assigned counsel.
                                                                             :?'c                     f&-'-
                                                                                                         ,..JtJ
                                                                                                                County, Ohio,

              IT tS THEREFORE, ORDERED that fees a nd expenses in the amount of$ I J ?6                                  be, and
        are hereby a pproved. I t is funher ordered thai the said amount be, and ereby is, certified by the court to the Counry
        Auditor for payment.



I~I
                                                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                                                       CASE NO. 2:16-cv-00495
                                                                                                                        APPENDIX - Page 1075
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 4 of 105 PAGEID #: 1110

                                                                '-'..CJ.\. J. J...t' .1.'-'.n. .1 .LV.I."'

         The County Auclitor in c-·-        this certification attests to the accu1 : · ..,e figures contained herein.
    A mbsequent audit by the Ot. '        1c Defender Commission and/ or the Aud           of State which rev·eals un-
    allowable or excessive cosiS may result in future adjustment against rcimbursemt:nt or repayment of ~tudit ex-
    ceptions to the Ohio Public Defender Commission.                                               IM~Gf:D
    County Number:
    Check Number:
    Check Date:
                                                                                          County Auditor
    Form Prescribed by Ohio Public Defender Commission


                                     ASSIGNED COUNSEL ITEMIZED STATEMENT
          DATE                                                         AcrnnTY                                                              I TOTAL •TDd£
                                                                                                   'htu in Common Pleas QJott
                                     EXPENSES                                                       lli.JT.~ P.R CO\JNTr', o_ttO
          4/12/84

          4/17/84
                                     Photo expense

                                     Witness fee to Elbert Avery_
                                                                                                                        FEB 1 c i , )       I    $
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          5(..7!..84                 TranscriEt exeense
                                                                BOWARD s. RO~                                                               I             72 . 00

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          5/11/8 4
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                                     Mi1eaae expense to investiaa t o r
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          5116/84                    Coov exoense                                                                                                         13.50
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              i.:
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                                                                                    ,\.
                                                                                                                                                                                                  -
                                                                                          f ....




                                                                                              1 hereby affirm the above is a troe aod accuratf~ account
                                                                                              of the time spent in the preparation of this matter.
          Von Clark Davis
    Party Represented
          CR83 -12-0614
    Case No.
          Bruewer , Moser & Stitsinger
    Judge                                                                                     ~rure 'f Counsel
          2 / 10/ 84                                                                                         Jaduary 12 , 1989
     Da;e Assigned
                                                                                                                                                     ..
                                                                                                                              VON CLARK DAVIS v. WARDEN
                                                                                                                                   CASE NO. 2:16-cv-00495
                                                                                                                                    APPENDIX - Page 1076
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 5 of 105 PAGEID #: 1111

         Tne <.:cuney A.uoitor in exect:ting this certification a.ttests to the accurt;y of the figures contained herein.
    A mbsequent audit by the o• ~-.       · ,lie Defe.oder Corn mission and/or th<     ' ·· 'r of State which reve als un-
    ailowabl.e or excessive costs ,        J)t in future adjustment a2.ainst reimbu.~e       .t or repayment o[ audit ex-
    ceptions to the Ohio Public Detenoer Commission.                    ~                            IMAGt:D
    County Number:
    Cb.eck Number.
    Cbed;: Date:
                                                                                                          County Auditor
    Form     Pr!lscril:l~d   hy OhiQ Public Dt>f!lndE'r Commission


                                  ASSIGNED COUNSEL ITEMIZED STATEMENT
          DATE                                                                              ACilVITY                                                       TOTAL TIME

       4/18/8 4                  Tr ial pre paration and meet with J udge                                                                                       3     1 /~~      hours

       4/19/84                   Hearing                                                                                                                        1                hour

       4/27/84                    Research ·                                                                                                                    1                hour
                                                                                                                        c~             ' G I J•.,J
       5/ 1 /84                  Meeting with co-counsel and Jfi~~e                                                                                             1                hour

       5 / 2/84                  Hear i ng on motions                                                                                                           2                hours
                                                                                                                         - ~ ; ..--_·;;      ..
       5/3/84                     Tri al             Pre~aration                                                                                                2                hours             ..
                                                                                                                                                                                                   ~


                                                                                                                                                                4 .-.:-...       hours ' , .       ,.
       5/7/84

       5/8/84· -                  Hearing; - t-r:ial - p-repa~tio:r:t . .-                                                                                     ,..~. -           hours
           . ·-- --          '·    - -·-------                                                                                                                 10-               hours
       5/ 9/84                    Trial
                                                            ·~-
                                                            ~   .   ..1-.-
                                                                        ·, c..--......
                                                                                     .. .
                                                                                  . •••          ...: .                                                             • •.4        >d~
    -· 5/10/84                                                                                                                                                 10-"              hours

       5/11/84 .             I    Trial-·-·
                                                                                                 •/

                                                                                                                                                                6                hours
    .:.::.' ~ · f 4 84 •.                              --- -Re--
                                    -· - ~ · ..- ----...
                                  Hearin
                                                                  - - ·· . ....
                                                               : Sentencin
                                                                                             ,
                                                                                                                           ~


                                                                                                              date & research
                                                                                                                               ;;:·-   .;.              .-;,
                                                                                                                                                         - 2                     hours

       5/25 / 84                  Hearing preparation                                                                                                   ... 1                    hour

       5/26/84                                                                                                                                                  6                hours         I
                                                                                                                                                                                               i
        5/31/84                   Sentencina he·a rina                                                                                                          1                hOt_;?:'
                                                                                                                                 TOTAL HOURS                   86.5

                                   EXPENS ES ON ATTACHED SHEET


                                                                                                          I herehy affirm the above is a true and accurate account
                                                                                                          of the time spent in the preparation of this matter.
           Von Clark Dayis
     Party Represented
           CRB3-12- 061 4
                                                                                                                                                                             7
     Case No.
           Moser, Bruewer & Stits i nge r
     Judge                                                                                                ~ature        of Counsel
           2 / 10 / 84                                                                                      ;a,nuakv 1 2 . 19 89
     Dale Assigned                                                                                         Date •   1



                                                                                                                                              VON CLARK DAVIS v. WARDEN
                                                                                                                                                   CASE NO. 2:16-cv-00495
                                                                                                                                                    APPENDIX - Page 1077
        Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 6 of 105 PAGEID #: 1112




                                                           IN THE COURT OF COMMON PLEAS
                                                                BUTLER COUNTY , OHIO


                            STATE OF OHIO
                                                                              r
                                                                                    .. ,. CASE NO. : CR83 12 0614
                                                            f r •
                                                              l·"
                                             Pla i n tiff                                  MOTION TO EXTEND TIME TO FILE
                                                                                           PRETRIAL MOTIONS AND MOTION
                               vs.                                                      - TO CONTINUE SENTENCING/
                                                    .                                   '. ~1IT I GATION HEARING
                            VON CLARK o1w I s • ....,;;- i.. ,...:...-..,.. Ple~ tomt'
                                                       r. . . .
                                                              U !H W"~'·" ..,:. l
                                                                      1
                                                           RllTLEfl C')ll.'HY, o r:IO
                                             Defendan~                              :
                                                           MAY 91989
                                                        EDWARD s. ROB[f. lR.
                                             Now    comes            the          def~~7fa~t ,        Von Clark Davis ,        by and
                            th:::-ough    his      respective                  c ounsel         and    moves    t.he   Court    :for   a
                            continuance           of        t he       mi tiga t_ion            hearing     pr esently       set:   fo r
                            May 1 9,      19 89 at 9 : 00 a . m.                     for the reason s           set    f orth in the
                            attached         memor andum                and         additionally          moves       the   Court      to
                            extend       the    time          wi ti1in            whi_ch   he    may    fil e   various     pre~trial

                            motions .




                                                                                                          P .0 .   BOX 1166
                                                                                                          45012




                                                                                  MICHAEL SHANKS
                                                                                  304 North Second Street
                                                                                  Hamilton , Ohio 4501 1
                                                                                  (513) 863-2 1 12




                                                                                  Hamilton , Ohio         45012
                                                                                  ( 513 ) 868-7600
GARRETSON LAW 0FF1CES

   ATTORNEYS AND

 COU NSELORS Ai U"'W
                                                                                  Attorneys fo r Defendant
  61Ei CAYT ON STREET

     P:O. eox 1166

 HAMIL TON. OHI O 450 ) 2


     45 13 } 66.3--6600




                                                                                                          VON CLARK DAVIS v. WARDEN
                                                                                                               CASE NO. 2:16-cv-00495
                                                                                                                APPENDIX - Page 1078
        Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 7 of 105 PAGEID #: 1113




                                                                                                        IM~ln: L

                                                                 HEMORANDU!I1
                                         It    ~s    respectfully       submitted         that        inasmuch     as
                            the defendant is incarcerated at Lucasville it i s difficult
                            for the defendant's counsel to mee t with him at a time
                            convenient to defendant's couns e l and for defendant's cou nse l
                            to obtain expert testimony and eva luation of the defendant
                            given the geographic constraints. Additionally, lead counse l
                            Michael Shanks is lead counsel in the case of State o f Ohio
                            v.   John    C.   Knuckles      hav ing   been      appointed        by    this   Court
                            to respresent said defendant.                It is respectfully requested
                            by all      counsel     f or   the   defendant      tha t    addi tional       time    is
                            needed for preparation.
                                      •rhe defendant waives any t i me requirements within
                            whi ch t he mitigation hearing must be held and it is submitted
                            to the Court that there is no prejudice to any party herein
                            by granting a c ontinuance of the mit i gation hearing inasmuch
                            as the defendant remains incarcerated at Lucasville and
                            shall remain so i ncarcerated until this matter is h eard .
                                        Defendant ' s  counsel     addi t ionally  requests
                            additional time to submit var lous pretrial motions and
                            memorandums inasmuch as Qefendant ' s counsel due to the press
                            of various t rial commitments needs additional time \iri thin
                            which to prepare said motions a n d defendant 's counsel
                            inasmuc h as t hey were appoint ed in this matter and inc:tsmuch
                            as   the defendant was represented by th e Ohio Public
                            Defender ' s Office as co- counsel in fro nt o f the Supreme
                            Court of the United States , needs additional time to mee·t
                            with the Ohio Public Defender ' s Office to p roperly prepare
                            and plan for the mitigation hearing herein.



GARRET§ON LAW Or:-t:"ICE£

    A T T ORNEYS AND

  COUNSELORS AT LAW

  6l60AVTON S TREET

      P.O. BOX 1166

 HAMILTON. O HIO 45012




                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                             CASE NO. 2:16-cv-00495
                                                                                              APPENDIX - Page 1079
        Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 8 of 105 PAGEID #: 1114




                                                                           EN'l'RY
                                               The    Court upon motion of               the defenda nt and              upon
                             a showing of good cause, hereby grants the defendant's motion
                             to     continue          this    matter       which       shall      be     reset      by   the
                             Assignment            Commissioner       in    approximately         60     d ays     frorn Hay
                             19.     It    lS        spec if ically    found         that   the    defendant         waives
                             any time requirements within which this matter must be heard .



                                                                                            JUDGE


                                                          CERTIFICATE OF SERVICE
                                               I   hereby certify that copy of                    ·the    foregoinq      was
                             mailed       to       the   Prosecuting        Attorney's         Office ,     216     society
                             Bank    Bldg . ,        P.O .   Box   515 ,     Hamilton,      Ohio         45012 ,    on the
                             dat e the same was filed .




GARRETSON LAW OFFICE S

   A TIORNe'YS AND

 COUNSELORS AT LAW

  616 DAYTON STREET

      P.O. BOX   I 166

 HAMILT ON, OHI O t150 1 ~




                                                                                               VON CLARK DAVIS v. WARDEN
                                                                                                    CASE NO. 2:16-cv-00495
                                                                                                     APPENDIX - Page 1080
   Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 9 of 105 PAGEID #: 1115


               111 Till~ CUUH'l' Uf Ct   VII I' J, J ;n~ ;,   uu·n. r: n CUlJIITV,   .l U




                  Th e Sta t e of Ohio
                                                                                                   ·'
                                                    m.m tn Cclmirion Pita Ca111         iA«Gt:u
                                                       BUTLER COUNTY, OHIO
                                                              .!liN 5 1989
                                                   ' EOWARO S. ROBS, ~R.
 vn .                                                         Cit !~ !! tl o. cw~3-12-0614
                 Von Clark Davis



                 ll e f e udaut




                Mitigation Heari n g

                August 4

b e fu1. e Ut e ll u u urn ul e    John R . Mo ser, William R. Stitsin ger a nd
Ilenry J. Bruewer .


                                                        r
               Jo h n Ga rretson
               Michael Shanks
               Tim Evans
               Dan Eichel
                                                   ...


                                                                                VON CLARK DAVIS v. WARDEN
                                                                                     CASE NO. 2:16-cv-00495
                                                                                      APPENDIX - Page 1081
      Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 10 of 105 PAGEID #: 1116




                                                              COURT OF COMMON PLEAS

                                                               BUTLER COUNTY, OHIO

                                STATE OF OH I O                                *        case No.    :t'L iJ . f;z-o?l{
                                                    Plaintiff
                                       FILED
                                 vs •                   \n Comm<r.1 9\ coart E N T R y
                               , ~~jUN 28 PI'\ 3 15 m:,il.ER coo~TY. OHIO -
                                                          .IUN28198· , R
                                      CLARK DAVIS                     ~
                                   CL.ERK OF CCIURTS
                                 EDWARDS H:Jto.Oiften~'f>WARD S . ROI5~\.iR~
                                                                          * * * * * *
                                            It appeari n g           to    the Court       that   the Defendan·t,     Von

                               Clark     Davis,          is   indi gent       and   without        funds      or   assets

                                necessary to retain counsel on his be half 1
                                           IT       IS    THEREFORE        ORDERED 1    that      John   A.   Garretson,

                               Michael    D.    Shanks ,      a nd    Timothy R .       Evans ,    be and h e reby a r e

                               appointed       as   counsel     for       Defendant ,      Von    Clark Davis 1     until

                                f u rther order of this Court .

                                                                               " En ter"




  BRESSLER, SHANKS
 & G EDLING CO.• L..P.A .
  A TTOANEY5 AT LAW
'104 NORTH SECOND S'T'Rt:too
  HAMI'L.,.ON. OH10 4 5011




                                                                                             VON CLARK DAVIS v. WARDEN
                                                                                                  CASE NO. 2:16-cv-00495
                                                                                                   APPENDIX - Page 1082
      Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 11 of 105 PAGEID #: 1117




                                                                                                                   IMA(;;:c
                                                        IN THE COURT OF COMMON PLEAS

                                                                BUTLER COUNTY, OHIO

                              STATE OF OHIO                                     *        Case No . CR83-12-0614



                              vs .                                                       WITHDRAW OF JURY WAIVER




                                         Now comes the Defendant, Von Clark Davis, and withdraws

                              his previous Jury Waiver.

                                                                     MEMORANDUM

                                         Ohio Rule of Criminal Procedure 23A allows a Defendant,

                              before commencement of the trial, to waive his right to a trial

                              by jury .       Defendant in this case did so, however, the case was

                              remanded for a second trial, i.e. , the penalty phase.

                                         In   State     vs .    Grims 1 ey 3        0. A.    3rd   265,      the       Court   of

                              Appeals of Hamilton County held that pursuant to Ohio Revised

                              Code   2945.05,       a   Defendant        may,       at    any time prior to              trial.
      /                       wi thdraw his Jury Waiver and it is error for Court, not to so

                              a 1 1ow.

                                         Therefore,        Defendant      submits           that   he   is    entit:led        to

                              withdraw        his   Jury       Waiver,    and       by     this    document        a    waiver,

                              withdraws his.



 HOLBROCK & JONSON
        LAW FIRM

   14\;l- HI~ OCK- JONSON

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                                                                                               VON CLARK DAVIS v. WARDEN
                                                                                                    CASE NO. 2:16-cv-00495
                                                                                                     APPENDIX - Page 1083
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                                                                        Respectfully submitted,

                                                                             HOLBROCK & JONSON LAW FIRM
                                                                             Attorneys for Defendant
                                              ff:(iJ 1':1 Co~7Ci Pi~3t Com'l 315 S. Monument Avenue
                                                "'aUTLEH Cuu~n'. OHIO Hami 1 ton, Ohio 45011
                                                         JUN 291989          Telepl(JJJJ (513)~86~8-7600
                                               EDWARD $. ROBB,  :.J"-
                                                            !::LERK
                                                                             ~~-            '
                                                                                                    ,=- . ... A
                                                                                              K/Y....,u
                                                                        By:~~~~~~--------------­
                                                                          tfmo'tlly ·R. Evans
                                                      CERTIFICATE OF SERVICE
                                        I hereby certify that a copy of the foregoing Withdraw
                                 of Jury Waiver was forwarded to Mr. John Holcomb, Prosecuting
                                 Attorney, 311 Rentschler Building, Ha~tpn, Ohio 45011, this
                                 29th day of June, 1989 .            V/;\J

                                                                             /~~~.
                                                                        By: ~--~~~~~~~~·-----­
                                                                            Ti mothy R. Evans




 HOLBROCK & JONSON
         LAW r'HtM

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                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                      CASE NO. 2:16-cv-00495
                                                                                       APPENDIX - Page 1084
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                                                                IN THE COURT OF COMMON PLE1f\             0-
                                                                       B~LE9 COUNTY, OHIO ~                        2 52 ~
                     MAR 0 ~ 199~
                                    ST~TE   0 ~   OHIO         ' 89 JUN 29 Pr\ 3 16 Case No. CR83-12-0614
                                               i> laintiff,
                 ~ARCIA J. ME. ~El. CLERK
                 Sllf'R£M£ CO ~T ~1·110
                                    VON CJ.A'RK DAVIS

                                              Defendant.



                                                         Now    comes    the    Defendant,      Von     Clark     Dav is,    and

                                    respectfully            moves      this    Court    to     sentence     him      to     life

                                    imprisonment, on the basis that to sentence him to death would

                                    deny    him        both equal       protection     and    would     constitute        double

                                    jeopardy, and further, in that it allows the imposition o( the

                                    death penalty             in via lation of Artie 1 e        1,     sections 9 and 10,

                                    clause 1, and the 6th, 8th and 14th amendment.

                                                                              MEMORANDUM

                                               The Defendant submits that, because ot State vs.                           Pe~~ix

                                    32 0. S.      369,      he is deni er:l equa 1 protection if he were to be

                                    sentenced          to     death.      Defendant,         further     submits     that     to

                                    resentence          him    to   death      would   constitute        double     jeopardy.

                                    Furthermore,            if he were sentenced to death it would be an ex

                                    post facto application of the Ohio Statutes,                          in violation ot

                                    Article       1,    sections 9 and         10,   clause 1 to the United States

                                    Constitution.             In State vs. Davis 38 O.S. Jrd 361, Judge Douglas

 HOLBROC-< b J O NSON               commented that even though the same three Judges are available,
           LA.W F1RN'I

    IIOLBROCK-JON sot..             there is no doubt that they are not in the same posture as they

l l ~ t;. !VO NliPY"f:NT   AVENUE   were at the original time.                  Justice Douglas noted, that while
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                                                                                                 VON CLARK DAVIS v. WARDEN
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                               all three Judges might be available in th i s case , and they are

                               not "in t he same posture" and furthermore, i f in the next case,

                               o ne of the three Judges are not available, this would work to

                               deny this Defendant equal protection.

                                      Therefore, Defe n da nt submits t hat to resentence him to

                               death would violate equal protection, wo uld both be a bill of

                               attainder and an ex post fac to application of the law, and would

                               constitute double jeopardy.

                                                                  Respectfu ll y submitted,

                                                                  HOLBROCK & J ONSON LAW FIRM
                                                                  Attorneys for Defendant
                                                                  315 S. Monument Avenue
                                                                  ~amilton, Ohio 45011
                                                                  TelepG?;\1:  (513) 868-7600



                                                                  By:Ti:~V~S~
                                                     CERTIFICATE OF SERV1CE

                                        I h e reby certif y that a copy of the foregoing Motion wa s
                               forwarded by ordinary U. S . Mai l Service to Mr. John Holcomb,
                               Prosecuting Attorney, 31 1 Rentschler Building, Hamilton, Ohio
                               4501 1 , this 29th day of J une , 1989.    ~



                                                                        /lw.~~ ~~~J:.
                                                                  By: ~--~~~~--------------­
                                                                     Timothy   R. Ev ans




 HOLBROCK & JO NSON

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                                                                            VON CLARK DAVIS v. WARDEN
                                                                                 CASE NO. 2:16-cv-00495
                                                                                  APPENDIX - Page 1086
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                                                        IN THE COURT OF COMMON PLEAS

                                                              BUTLER COUNTYf'l l ~tl I o
                                STATE OF OHIO
                                                                       "89 JUt~ 2§ar~l'\ NS . iCSRBJ-12-0614
                                          Plaintiff,                           _.,_"OF- COU RTS
                                                ftHZD b C~;:TC1 Pi~<r.\ (;omt LE Rr'
                                vs.                .BUTLE:f< Cvi.J~lY, OH IC£ D\'/Aii!:ll'irfq.&J3 .~. WITHDRAW THE JURY
                                                               _                               WAIVER
                                VON CLARK DAVIS         JUN2~1989               ,.
                                                 EDWARD S. ROBB, JR·.
                                          Defendant".                CLE.RK     "'



                                          Now    comes      the      Defendant,        Von     Clark    Davis,     and

                                respe c tfully moves this Court to allow him to withdraw his jury

                                waiver, for the reason that it was not a knowing and voluntary

                                waiver.

                                                                      MEMORANDUM

                                          The Defendant's Jury Waiver was not knowing, intelligent

                                and voluntary.         In State vs. Rupert 54 O.S.                2nd 263, the Ohio

                                Supreme Court held that where a Defendant was advised that i t

                                required all three Judges to convict him, and in fact, it turned

                                out that the advice was erroneous and it took only a majority

                                of two Judges to convict him.                 The U.S. Supreme Court held that

                                his waiver was not knowing, intelligent and voluntary.

                                          State vs. Pennix 32 O.S. 3rd 369, held that if there was
 /
                                error in the penalty phase of the trial,                       that the Defendant

                                must, on remand, be s e n t enc ed to lif e .           Thereafter, in State vs .

                                Davis   38 0. S.     3rd 361,       the    case at hand,          the Court,   though

 HOLBROCK & JONSON              finding error at the penalty stage, made a distinction between
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     t--+OLBROCK-JONSON         a panel and a jury and allowed the Petitioner to be resentenced
           BUiL.DIN G

3 1-=., 5 M ON UMEN T AVENUF-   to d e ath.     Because of this distinction, the Petitioner's jury
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                                                                                             VON CLARK DAVIS v. WARDEN
                                                                                                  CASE NO. 2:16-cv-00495
                                                                                                   APPENDIX - Page 1087
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                             waiver was not knowing, intelligent and voluntary, since he did

                             not know at the time of the waiver that if there was err or in

                             the penalty phase, he could be resentenced to death only if he

                             was tried by a three judge panel.

                                    Also,     Petitioners    Jury     Waiver     was    not   knowing,

                             intelligent and voluntary because, as this Court will remember,

                             Petitioner     previously   asked   to   severe     the   weapons    under

                             disability count and waived his right to a jury only when the

                             Court denied the same.

                                    Therefore, Petitioner moves this Court to allow him to



                                                                 Respectfully submitted,

                                                                 HOLBROCK & JONSON LAW FIRM
                                                                 Attorneys for Defendant
                                                                 315 S. Monument Avenue
                                                                 Hami ~~~Ohio 45011          ·
                                                                 Tele\Zlj\J:  (513) 868-7600

                                                                        ~~~~wvL
                                                                 By:~~~~    (/~~--~-------­
                                                                   Timothy R. Evans

                                                   CERTIFICATE OF SERVICE

                                    I hereby certify that a copy of the foregoing Motion was
                             forwarded by ordinary U.S. Mail Service to Mr. Jobn.-I:Wlcomb.,
                             Prosecuting Attorney, 311 Rentschler~u~lding, Hamilton, Ohio
                             45011, this 29th day of June, 1989.       W;'!           A {.:::)
                                                                       I h'NJ-et_.'( 1(. ~~1
                                                                                 cr
                                                                 By: ___________________________
                                                                      Timothy R. Evcms


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   H OLBRC.•CK- J ONSON

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  H AMIL TON, OhlO 45012




                                                                               VON CLARK DAVIS v. WARDEN
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                                                                 COURT OF COMMON PLEAS

                                                                    BUTLER CO~Cl~ OHIO


                              STATE OF OHI O                          '89 JUL 18 PBASk hlJ . CR 83 12 0614
                                               Plai n tiff                 CLE R ~ OF COL tH S
                                                                           1= llvt.:..gn W~H~ FOR FURTHER PSYCHO-
                              vs .                            fll.E1) In Co11irn!:itl' !"'~ ooicAL EVALUATIONS . APPOINT-
                                                                  BUTL.Efi COUi'l rY, OHIO MENT OF A SOCIAL WOHKER
                              VON CLARK DAVIS                           JUL 181989          TO PREPARE A SOCIAL HIS1'0RY
                                                                                AND FOR PAYMENT OF EXTRA-
                                               Defen darl:iOWARO. S. ROB~, .JR. oRDINARY EXPENSES F OR S AID
                                                                        CLERl< EXPERTS


                                               Now     comes        the     defen dan t ,    Von    Clark       Davis,      by    and

                              t h rou g h   counsel,          and    moves     the Court       to     a p poi n t    Roger Fisher

                              of t he But ler County Forensic Center to perform a n additional

                              psycholog i cal          eval u a t ion        in     this    case       a nd    to      appoin t    an

                              addi t i ona l    psychologis t          t o perform a n independent psychological

                              e valuation i n this case and moves t h e Court to appoint a social

                              worker        to prepare          a   social hi st ory         in thi s      case      for   the use

                              o.f    the    psychologist            a nd    .for    the    Cou rt's     use     in     determin ing

                              sente n ce       in    t h is    matter .        Defendan t      further        move s    the     Court

                              to ap prove ex t raord i nary

                                                                           expeC;/11 ]f;;~k
                                                                                   JO~RRETSON                           A-173
                                                                                   A Legal Profess i o n a l As s oci a t ion
                                                                                   6i 6 Dayton S treet, P. 0. Box 1166
                                                                                  4familtoo, Ohio 45012
                                                                                   Tel ephone :  (513) 863- 6600



GARRETSON LAW ~ICe'S

   ArtoR:t..e:VS AND

 COUNSELORS Al" L-AW

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      PO. BOX. 1 166

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     ($ 13) '863-660d




                                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                                      CASE NO. 2:16-cv-00495
                                                                                                       APPENDIX - Page 1089
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                                                                                                              2~ ' (/t~!(., Jdjj
                                                                               TIMOTHY R. EVANS                           I

                                                                               P. 0. Box 687                              "
                                                                               Hamilton, Ohio 45012
                                                                               Te l ephone : (513) 86S- 7600

                                                                               ATTORNEYS FOR DEFENDANT


                                                            CERTI FI CATE OF SERYI CE
                                             I     hereby     c e r ti f y   t h at   a    c opy   of   the   forego ing       was

                                 sent   by   regu l ar   U.     S.    Mail      to    John F.       Holcomb,    Prosecuting

                                 Attorney,    P.    0.   Box      515,       Hami l ton,     Ohio   45012,     on   the       dat e

                                 the s ame was f i led.




                                                                               JOHN A. GARRETSON
                                                                               Attorne y for Defendant




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  COlJNSCl..ORS AT LAW

  616 OAVTON STREET
      P.O. 130X 1 166

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                                                                                              VON CLARK DAVIS v. WARDEN
                                                                                                   CASE NO. 2:16-cv-00495
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                                                                      COURT OF COMMON PLEAS

                                                                         BU1~ER       COUNTY, OH IO
                                                                                                                f !L::o
                            STATE OF OHI O                                         P\a~s Co~ af1t¥ !W· ~ ~311 2 0614
                                                            stl.[l) }11 Cor.m~o~         OHIO
                                                Plai n"e~u.R cou~iY •            :  Cl H,Y. Of Cu'JUS...,
                            VS.
                                                                               9
                                                                    j\JL 1 J19B :  OOJb'r'GN Srb · paoB:'ii3I'l' TilffiEE-
                                                                 oWARO $ . ROB8,~ J UDGE P ANEL . FROM RESE:N'l'ENCING
                            VON CLARK DAVI S E                                           Cl.~R.     . TO DEATH AND MOTION ..1'0
                                                                                                       DI SQUALIFY PANEL
                                                De f e ndan t



                                                Now         c o mes      the        defe ndant ,           Von       Clark        Davis,        by     a nd

                            throu g h couns e l , Mi c h ae l                      Sh a n k s, Timo th y R. Ev an s ,                   a nd J ohn A.

                            Gar r e t s on, and move s the Court as                                 f o llow ~ :


                                                1.          The      defendan t              respec t f u ll y            moves    the     Cou rt       to

                            pro hi bit           an y           c on s i deration             of         t he      d eat h        penal ty           be ing

                            r e ins t ituted                in      t hi s         c ase .          Sp ec i fi c ally,            the      d.efe ndant

                            incorporates                   by    refe r e nce         a ny        an d    all      of      th e   ar gume nts wi t h

                            r espect           to         rese n te nc ing          and       th e       u nco nsti t ut ionalit y              of     t he

                            defend ant bei ng res ent e nce d to a sent e nce of death aft er error

                            h a ving       been           c ommi t t ed      in      the        se n tencin g           p h ase   of     bi G t r ia l ,

                            as wa s         su bmitted as author ity to                                  the    S upr e me Court          of Uo i ted

                            l:>t a t es    on         a    Pe titi o n       f or      Cer ti o r a ri.             (Ce r tiorari         den ied       on

                            o th e r       g rou nds . Will be s ubmit ted.) Add it i o na l l y                                  the      defe n dant

                            direct s           t he       Court' s        at t e nt ion           to     the     di s sent writt e n            in     t he

                            Ohi o         Supre me          Court        c a se       by      Justi ce           Doug las         and    cites         the

                            au t hority             contained             the r e i n.             It     is      r es pe ct fu l l y      s u bmitte d
G~RRC'TSON LAW OFFICES

    A T TORNEYS AND
                            t hat ,       in     fac t ,         eve n    if       t he s ame            three     p e r s o ns    relila i n   on     t he
  COUNSE"LORS AT \.AW
                            Th ree-Judge Panel,                       t hey        are     not       " the s ame Th ree- J u dge Pan e l " .
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                            Sp ec i f i call y , after th e p e ri o d of near ly fi ve y ears has e l ap s e d,

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                                                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                                                       CASE NO. 2:16-cv-00495
                                                                                                                        APPENDIX - Page 1091
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                                                                                                                                   IM~C..!.-.f
                           the Thl·ee- ,Judge Panel d oes not come to t h is resent encin g with

                           the same state of mind, knowledge o f t h is                                     ca~e.           nor d i spos ition

                           to     hear    t hi s    matter          as     when     the       case         was        orig in ally            h e ard.

                           Beyond        the     fac t      t h a t,      based     upon       the         decision               of    t he       Ohio

                           Supreme       Court       in      S taLe v . Penix                (l987),            32     0.     St .      ~l d.      369,

                           de fe ndant, Davis,              is be ing           d e n ied the equal protectio n                               of    the

                           law argument in conside r in g                        th e     death p ena l t.. y in rese n tenci ng

                           a defendant who elected t o h ave his case beard by a Thr ee-J udge

                           Panel        (and       that     unequal           protec tion             argume n t             is        set        forth

                           s eparate ly        by separate mot i on),                    the defe ndan t,                   Davis,           in    thi s

                           c ase is by sta tute e ntitled to have his case sent e n ced by the

                           same     Three-Judge             Pane l ,       and     although               the        per sons          themselves

                           may be the same in n ame they are no t                                   t h e same pane l                   by      virtu e

                           of'    the    f 1 ve-year          I. a p se    of      time       as     welL            as     t he       c h.a n ge     of

                           c ircums t a nce of all part i es invol ved.                             For t h e Court t o consider

                           the     deat h      pen alty       as       one    of    the       sen tenci n g               o pti o ns      in       t h is

                           case     violat es        the       defendant' s             cons tituti onal                   right        to        equal

                           protection          of    t he     law      a nd     viol ates          th e     s tatute ,            s p e c ifica l l y

                           Ohio      Revised          Code         Sec tions            2929 . 022 (B),               2929 .03 (C)(2)(a),

                           292 9 . 03(D)(3),         and       2 929 . 0 3 (F ),        wherein           the        statut e          re·fers        to

                           a partic u lar panel of three Judges as opposed to mer ely a panel

                           of three Ju d ges , and, in th is case , the Court is not compr ised

                           of the same pan el of three Judges.

                                            2.       Defe nd a nt          r espectfully              s ubmi ts              tha t       inas mu c h

GAFIRETSON LAw 0Fr ICES
                           as the pres iding Judge o rigin a lly in his case and th e pres iding
   A T TOANE'r'"S A/'.ID

  COUNSELORS AT LAW
                           Judge    of t he Three-Judge P a ne l                        at    th at time was t he Honorabl e
  6 16 OAYT ON ~R.EET

     P.c aox 1166
                           Judge He nry J . Bruewer, who i s                         now the Probate Judge of Bu tl e r
 H AMIL TON OHIO 4 50\ 2




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                                                                                                          VON CLARK DAVIS v. WARDEN
                                                                                                               CASE NO. 2:16-cv-00495
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                           County and no longer on the trial divi s ion of t he Bu t l e r County

                           Common   Pleas    Court,       that        the     s ame   panel     as   originally           heard

                           his case ca nnot        be    assigned within              the tria.l       division of the

                           Common   Pleas    Court       a nd,    the r efore ,        since     the    s ame     p a ne l     is

                           not availabl e        to be   assigned within the tria l                    division of the

                           But ler County Common Pleas Cou r t, that he cannot be r ese ntenced

                           properly   to    the    sent e nce     of        d eat h   by   a   differen t       pan e l      and,

                           therefor e ,    the    sentence       of    deat h s hould not            be consi d e red as

                           a sentenc in g option in this




                                                                        JO N A. GARRETSON                       A-173
                                                                        A Le gal Professional Association
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                                                                        MI CHAEL SHANKS
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                                                                        304 North Second S treet                      r~ ~?
                                                                        Hamjlton, Ohio 45011                          y' J
                                                                        Telephone:  (513) 863-2112



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                                                                                                                    7/t··/-:;r;
                                                                        Hamilton, Ohio 45012                          Jtf}
                                                                        Te l ep hone: (513) 868-7600 ·

                                                                        ATTORNEYS FOR DEFENDANT



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  COU~ORS AT L AW


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                                                                                           VON CLARK DAVIS v. WARDEN
                                                                                                CASE NO. 2:16-cv-00495
                                                                                                 APPENDIX - Page 1093
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                                                        CERTIFICATE OF SERVI~E
                                        I     h ereby    c ertify   that      a   copy    of    the     for e g o ing was

                           sent   by    regu l ar   U.    S.   Mail    to   John F.        Iiolcomb ,     Pros ecuti ng

                           Attorney ,    P.    0.   Box    515,     HamiL ton,     Ohio        45012,    on   t he   date

                           the same was filed.




                                                                        t orney for De f e ndant




GAR~, SOtoJ LAw OFF1CES

    A -T()R.'\lS:VS A NO

  COUNSELORS AT LAW

  616 DAYTON STREET

      P.O. BOX 1 i 66

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                                                                                         VON CLARK DAVIS v. WARDEN
                                                                                              CASE NO. 2:16-cv-00495
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                                                                         Precipe for Subpena--In State Case
                                                                                                                                                    BAnn s'l'T llR<..               .R.S, Puot..nt~mru. SPl\ISCFtR.I-O, Otno




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                                 I
                                                                  THE STATE OF OHIQB.&JUL,.fO
                                                                          t·~ .                                                   flM 10 2~ .N'o....C.R....8.3.....l .2....0.6. l 4
                                         VOJI,T CLi\IJK .J;>AYIS
                                                                                                          ClfR·K QF COURtiJMMON PLEAS COURT
                                                                                             .......... f.DWJRO ~- ROBS. JR
                                     I                                                         D~(endant                                            •
                                 f\      To the Clerlc:- Issued stibpena j'or
                                                Capt . Oscar McGraw , Un it                                                                                          RESIDENCE
                                         ..!: ..... Man.~_g~ r • . D~~t h Bow.......................                            ...S.o..u..the..rn.....QI:!_i.Q......C.or..:r.?.r.;.t.t.on11.L F.a.c..ili t y
                                          2 Sgt . Gordy Pullman, Un i t                                                            P. 0. Box 45699, Lu c a svi lle , OH 45699
                                ~             · ··· · · ·Gou n se-lor·;··· Death-· Row                                          ··Same
                                          8 Herb Wendler, Social Worker,
                                 ~                ··· Deat h Ro;y
                                                              \·  ·· · ········                            ········              Same·· ·--······ · -- ···- -·- ·-··-····· ..·······

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VON CLARK DAVIS v. WARDEN




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                                         ...9 ....... -·-······
     CASE NO. 2:16-cv-00495




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      APPENDIX - Page 1095




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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 24 of 105 PAGEID #: 1130




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                         THE STATE OF OHIO
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                                                                                                                VON CLARK DAVIS v. WARDEN
                                                                                                                     CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 25 of 105 PAGEID #: 1131




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 Canary - Attorney                                            (Court)

                     State of Ohio                                                              Case No. _ c_R_8_3 _1_2_ 0_6 _14
                                                                                  IW.Gi:D
                                 vs
                     Von Clark Davis                                                                                  SUBPOEI~A
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                                                                                                                      DUCES TECUM                  0
                                                                                                                      GRAND JURY                   0
 To:        Herb Wendler, Social Worker, Death Row, Southern Ohio Corre c tional FaciU.ty ,
            P.O. Box 45699. Lucasville, Ohio 45699
                       YOU ARE HEREBY COMMANDED to appear in the ___c_o_m
                                                                        _m_o_ n_ P_l_e_a_s_ _ Court of                                 Butler County

 on the _ __8_t h               _u_,g"--u_s_t_ _ _ , 19 ~ at _ _ _9
                _ _ _ day of ___A                                 _:_o_o___ o'clock _ A_ M(Courtroom# _ __
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                                                                _t_ _ _ _ _ _ _ in the above entitled case un1der penalty of law.

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                                                                                           Edwar-d             s. Robb Jr.                   ·-'
     John A. Garretson Attorney

 Attorney for ___D
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                         fe:::.:n:.:d=.:a=.:n:.:t= ---- - - - - - - -
    616 Dayton Street                                                           by
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    Hamilton Ohio 45011
 Attorney Address and Phone
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                                                                                                         VON CLARK DAVIS v. WARDEN
                                                                                                              CASE NO. 2:16-cv-00495
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   Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 26 of 105 PAGEID #: 1132




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       Green • Return
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                               State of Ohio                                                                    Case No.        CR83 12 0614

                                           vs
                           Von Clark Davis                                                                                       SUBPOEINA
                                                                                                                                 CIVIUCAIMINA.I.                      B CR
                                                                                                                                 DUCES TECUM                          D
                 Capt. Oscar McGraw. Unit ~~nager. Death Row. Southern Ohio                                                      GRAND JURY                           D
       fo:
                 Correctional Facility, P.O. Box 45699. Lucasville, Ohio 45699
                         YOU ARE HEREBY COMMANDED to appear in the Common P 1 e as                                                 Court of        But: 1 e r         Coun t,y

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       to attend and give testimony on behalf of _ _ _ _ ____;D: ce:: .:f: -. :e: .:n.:. :d: .:a: . :n;.:;t=--_ _ _ _ _ _ fn the above entitled case untder penalty of law.

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       ~J~u~l~v~i~o~t~h_ _ _ __________ , 19~
          John/A. Garretson Attorney                                                                     Edward S. R~b Jr.
                                                                                              Clerk of Courts
       Attorney for               Defendant
                                                                                                         C. Carpenter
          616 Dayton S(t:pe t;_- ~                                                            by
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       Attorney Address and PhoAe                 \'   ~                    ,                                   .
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                                                                                                                           CASE NO. 2:16-cv-00495
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       Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 27 of 105 PAGEID #: 1133




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              Canary • Attorney                                      (Court)

                                  State of Ohio                                      f~G,..D
                                                                                        ~ ~  Case No. _ CR83
                                                                                                         _ __12 0614
                                                                                                                 _

                                              vs
                                  Von Clark Davis                                                              SUBPOEI~A
                                                                                                               C IVIL/CRIMINA.L
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                                                                                                               DUCES TECUM                      0
                       Sgt. Gordy Pullman, Unit Counselor , Death Row, Southern Ohio GRAND JURY                                                 0
              To :     Correctional Facility, P.O. Box 45699t Lucasville, Ohio 45699
                                     YOU ARE HEREBY COMMANDED to appear in the ___
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                        _t_h_ _ _ day oi ___A_u_g _u _s _t _ _ _ , 19 _8_9 _ at _ _ _9_:_
              on the _ _B                                                               o_o_ __ o'clock ___!___ M (Courtroom # _ __
                                                                  Defendant
              to attend and give testimony on behalf of- - - - - -- -- - - - - -- - - in the above entitled case un1der penalty of law.

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                        _____________________ , 19~
                  John 'A. Garretson Attorney                                                 Edward    .s: Robb Jr.
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              Attorney for _ _ _D_e_f_e_n_d _a _n _r _ _ _ _ _ _ _ _ __                                            ·.i· j\       '~

                  616 Dayton St-reet
                                                                                              C. Carpenter
                                                                                    by
                                                                                    Deputy Clerk
                  Hamilton Ohio 45011
              Attorney Address and Phone                                       1.
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                                                                                                      VON CLARK DAVIS v. WARDEN
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                     State of Ohio                                                                       Case No.        CR83 12 0614

                                      VS


                     Von Clark Davis                                                                                      SUBPOEINA
                                                                                                                          CIVIL/CRIMINAL                     0 CR
                                                                                                                          DUCES TECUM                        0
         Capt. Oscar McGraw, Unit Manager, Death Row, Southern Ohio                                                       GRAND JURY                         0
 To:
         Correctional Facility, P.O. Box 45699, Lucasville, Ohio 45699
                 YOU ARE HEREBY COMMANDED to appear in the Common Pleas                                                     Coort~          Butler Count1

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 to attend and give testimony on behalf of -------'-D-'-e-=-fe.;;..:n-'-d"'"'a"-n"""'t'--------in the above entitled case under penalty of law.

 And, to bring with you




 -=-Ju;;:;_l:::.y<---.....:2:..:0:..:t:..:.:h:.___ _ _ _ __ _ _ _ _ , 19__!!!__
   John A. Garretson Attorney                                                                    Edward
                                                                                       Clerk of Courts
                                                                                                                s. RoQb Jr.
                                                                                                                              .~-
                                                                                                                                                                  -
 Attorney for            J)efendant
   616 Da~on Street                                                                              C. Carpenter
                                                                                       by
                                                                                       Deputy Clerk
   Hamilton Ohfo 45011
 Attorney Address and Phone



 RETURN ON SERVICE

 On the _ _ ____ day of _ _ _ _ _ _ _ , 19 _ _ , I served the
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                                                                                                               VON CLARK DAVIS v. WARDEN
                                                                                                                    CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 29 of 105 PAGEID #: 1135
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  G ~e~n - Aelurn
  Canary - Attorney                                            (Court)

                       State of Ohio                                                                    Case No. _C_R_8_3_12_ 0_6_14

                                        vs
                       Von Clark. Dav:.s                                                                             SUBPOENA
                                                                                                    CIVIL/CRIMINAL                           [j CR
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  To:         Herb Wendler, Social Yorker, Death Row.                          Southern Ohio Corr~ctional Facillt y .
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                               YOU ARE HEREBY COMMANDED to appear in the ___C_o_m_m
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  to attend and give testimony on behalf of--------------~~- in the above entitled case urlder penalty ot law.

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        John A. Garretson Attorney                                                              Edward    -· s. Robb Jr.
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                                                                                      Clerk of Courts        ,;
                  D_
 • Attorney for ___ c_
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                      _n_d_a_n_t_~-------                                                                   / J' •             '
        616 Dayton Street                                                                       C.      Carpeni~r ~
                                                                                      by
                                                                                       Deputy Clerk
        H~~ilton        Ohio 45011                      '
  Attorney Address and Phone



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                                                                                                           VON CLARK DAVIS v. WARDEN
                                                                                                                CASE NO. 2:16-cv-00495
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  Green · ReJUrn                       --------------------------------------                                                                                  I   OHIO
                                                        (Court)
  Canary • Attorney

                       State of Ohio                                                                          CR83 12 0614
                                                                                                    Case No. ___________

                                         VS
                       Von Clar'~ Davis                                                                                   SUBPOENA
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                                                                                                                          DUCES TECUM                          D
             Sgt. Gordy Pullman. Unit Counselor, Death Row. Southern Ohio                                                 GRAND JURY                           D
  To:        Correctional Facility, P.O. Box 45699, Lucasville. Ohio 45699
                                YOU ARE HEREBY COMMANDED to appear in the ____C
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                                                                                 __            a_s___ Court of                                Bu11:ler County

  on the            Stb             day of         August         , 19 ~ at _____9_:o_o_______ o'clock __!____ M(Courtroom # ___ _
                                                                Defendant
  to attend and give testimony on behalf of - - - -- - -- - -- - - - - -- - - in the above entitled case under penalty of law.

  And, to bring with you




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                                                                                                         -·       ,;-
   John A. Garretson Attorney                                                               Edward          s . Rohb Jr.
                                                                                  Clerk of Courts
                                                                                                                   /I
  Attorney for _ _D_e_f_e_n_d_a_n_t_ _ _ _ _ _ _ _ __
    616 Dayton Street                                                                       C. Carpenter
                                                                                  by
                                                                                  Deputy Clerk
    Hamilton Ohio 45011
  Attorney Address anel Pl'ione




  RETURN ON SERVICE

  On the ___________ day of - - - - - - " - --                 , 19 _   _ , I served the
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                                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                                            CASE NO. 2:16-cv-00495
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     Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 31 of 105 PAGEID #: 1137




                                  STATE OF OHIO                                                  CASE NO. CR83-12-0614
                                                      PI a IntI ff                               STATE OF OHIO
                                                                                                 COUNTY OF BUTLER
                                  vs .                                                           COURT OF COMMON PLEAS
                                  VON CLARK DAY IS               ' 09 J'}~ 21   p~     :    ~J
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                                                                                            AND MEMORANDUii4
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                                                                            CLERtC
                                              Now comes John F.        Hoi comb ,    Prosecut-Ing Attorney ,    and moves this

                                  Court- to str i ke the defendant ' s "W ithdr awal of Jury Waiver", and -~o over rule

                                  the defendant- ' s motion for wi thdrawal of j ury waiver, for "the reason that               It

                                  is untimely per the requirements of Ohio Revised Code §2945 . 05.

                                                                                     JOHN F. HOLCX»e
                                                                                     PROSECUTING ATTORNEY
                                                                                     BUTlER COUNTY, OHIO



                                                                                     By    s~ b .
                                                                                     DANIEL G. EICHEL
                                                                                                               c L.__{J
                                                                                     FIRST ASSISTANT PROSECUTIN3 ATTORNEY
                                                                                     BUllER COUNTY I OH I0
                                                                                     216 Society Bank Building
                                                                                     Hamil ton, Ohio 45012-05 15
                                                                                     Telephone (513) 887- 3474




                                              T he defendant ' s motion to withdraw h i s j ury waiver does not meet

                                  the requirements of Ohio Revi sed Code §2945.05, which provides In pertinent

                                  part:

                                                 *     *
                                                    * Such waiver may be withdrawn by the defendant at
                                              any time before the ca..encement of trl~l.

                              I
                              · (Emphasi s added.)         The def endant ' s trial has already commenced, the resu l t of
        OF>ICI:O~
 PROSECUT ING A TYORNEY
  BUTLER COU NTY . OHIO           that guilt phase of t r ial        has been affirmed by reviewing cou rt s,, an d other
    JOHN F , HO L COMB
 PRos~cu·nNG ATTORNEv             than    the trial    court's    opinion   Itself ,       there was   no   error   found   In the

216 SOCI ETY BA NK BUILDING
                                  conduct of the penalty phase.          We have before us on l y a resentencing.
        P.O. BOX ~15
   H AMILTON. OHIO 4501 2



 J.3)
                                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                                      CASE NO. 2:16-cv-00495
                                                                                                       APPENDIX - Page 1103
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                                                                                  - 2 -

                                          Upon remand from an appe I I ate court,                 a I ower court must proceed

                              from the point at which the error occurred.                       State, ex rei.     St·evenson, v.

                              Murray ( 1982), 69 Oh lo St.             2d 112, 431        N. E.2d 324; Tye v. ~ of Edn. of

                              Polaris Joint Vocatio nal             School    District      (1988),   44 Ohio App.    3d 76,

                              N.E. 2d ---, paragraph two of syllabus.                     That point In this case Is not the

                              commencement of a retrial, but redetermination of sentence under Ohio Revised

                              Code Sections 2929.03<0)(3) and 2929.03(F).                     The Ohio Supreme Court remanded

                              the case at bar to the same panel of three judges who heard the guilt phase

                              of trial    and had previously            Imposed sentence,        "for a resentenc ing hearing

                              sole ly for      the purpose of          dei"ermlnlng whether the remaining <3ggravaltlng

                              circumstance outweighs th e mi tigating factors                 -If**· " State v. Dnvfs (1988),
                              38 Ohio St. 3d 361, 373 , 528 N.E.2d 925.

                                          Furthermore, there is no provision in Ohio 1 s proceduro for a new

                              jury   to hear the penalty phase on remand after an original                        j ury's guilty

                              verdict Is affirmed but The cause Is remanded for error In the pe11alty phase.

                              State v. Penix (1987>, 32 Ohio St. 3d 369, 513 N.E.2d 744, [ InTerpret i ng Ohio

                              Revised Code §§2929.022(8) through 2929.04(8) . ]                       I ndeed, the Import of the

                              Penix decision         is that the statutes reqtJlre The same trier of fact to hear

                              both   phases,        as   the     statutes    consistently     refer    to ' 1the paned    of   Three

                                               11
                              j udges 11 and    ~        trial    jury",    not   11
                                                                                   ,! panel of three judges 11 and "a tria l

                              jury."     It was for The reason That The same three judges were available that

                              the Ohio Supreme Court found an exception to the Penix case and r-emanded the

                              case at bar to the same three judges who heard the trial.                      Davis,   lQ. aT 373;
                              see also concurring opinion per Holmes, J., ..!.£:_,at 374.                     A coud of appeals

                              has    I lkewlse held In a death penalty case that the jury recommending the
        OF"FICE OF
 PROSECU TIN G ATTORNEY
  8Ul"LE)f COUNTY . OH I O    sentence cannot be substantially                    different from the jury that           f ou nd the
    JOH N F . liOLCOMA
 PROSECU T ING A TTORNEY      defendant guilty.            StaTe, ex r'el. Miller, v. Gillie ( 1986J, 24 Oh lo App. 3d

2 16 SOCIETY BA NK BUILDING
                              121, 493 N.E.2d 327, paragraph three of syllabus [interpreting Ohio Revised
       P. O . BOX 51 S
  HAMILTON. OHIO 4 501 2      Code §§2929.03(0)(2)].



                                                                                                VON CLARK DAVIS v. WARDEN
                                                                                                     CASE NO. 2:16-cv-00495
                                                                                                      APPENDIX - Page 1104
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                                                                                   - 3-

                                                  Along the same reasoning as S1tate v.         Penfx, the Ohio Supreme Court
                               has held that the same Jury Is required to hear the guilt and penalty phases,

                               State v. Mapes (1985), 19 Ohio St. 3d 108, 483 N.E.2d 140; separrate Juries

                               are neither statutorily provided nor constitutionally required.

                                                  See also Beatty v. Al ston (1975), 43 Ohio St. 2d 126, 330 N.E.2cl

                               921, C Interpreting Crlm. R. 25(9) and ho lding that the judge who presides at

                               a criminal trial must also Impose sentence unless he is unable to do so).

                                                  Although defendant cited Sta-te v. Ruppert (1978), 54 IQhio St. 2d

                               263,        375    N.E.2d    1250,    for     grounds that    defendant's jury waiver     was   not

                               knowing and voluntary,                that    case does not apply     In this sltua,t l on.      In

                               Ruppert, the trial court affirmatively misinformed the defendant at the time

                               his jury waiver was made that a three judge panel's verdict of guilt must be

                               unanimous, (although at that time the statutes perm i tted a maJor·lty verdict

                               on guilt while requ iri ng unanimity on the death sentence).                        Be,cause James

                               Ruppert was misinformed, his jury waiver was I neffect ive and the 1'otal result

                               of the original             trial , the conviction and sentence, was reversedi on appeal.

                               In     the        present   case,    however,     the Ohio    Supreme Court   has   aHfrmed the

                               conviction and guilty verdict of the panel but remanded the case solely for a

                               resentencing hearing.                Davis,    id., at 373.    The trial court here did not, as

                               In Ruppert, misinform defendant when the Jury wa i ver was made.                     The error of

                               commission           In RupperT does not equate with t he alleged error of omiss ion

                               (i . e. ,    not adv 1sIng defendant 'that he can be resentenced by a three judge

                               pane l      in the event t hat an appea l s co urt finds error In the sente~nclng phase

                               but otherwise affirms the conviction, whereas an error In the pN1al ty phase

                               of a jury tr i a l results In commutation to a I !fe sentence, cf. Penix)..                      It
        OfFICE: O F
 PROSECUTING ATTORNEY
  B UTLER COUNTY, OHIO
                               that were the case, then every thr ee-judge psnel's deatn sentence! In Ohio Is
     JOHN 1'. HOLCOMa
 PROS~CU TI NG ATTORNEY
                               subject to reversal, because such advice was no doubt "omitted" In every such

                               case.
2 16 SOCIETY BANK BUILCII NG
       P.O. BOX 515
  HAMILTON, OH 10 4SOI Z




                                                                                                VON CLARK DAVIS v. WARDEN
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                                                                           - 4 -

                                             It Is one th i ng to be misinformed about the direct                consequences

                                at trial of a three-judge trial,         State v. Rupper-t, supra, but quite another
                                where .!12. misinformation Is given on an appellate Issue, (and an Issue which

                                was not resolved until the appeal),

                                             It   Is   not required that a defendant be omniscient                rn order to

                                "knowingly, intelligently and voluntarily" make a Jury waiver or 9ullty plea.

                                In the guilty plea si t uation in Sta1-e v. Johnson (1988), 40 Ohio St. 3d 130,

                                133, 532 N.E.2d 1295, 1298, the Supreme Court he l d that neither the United

                                States Constitution nor the Ohio Constitution requires a t'rlal court                    to go

                                beyond the specific mandate of Crim. R. 11(C)(2) and advise a dei'end'ant that

                                sentences for crimes to which he pleads guilty may oe Imposed consecutively,

                                and held that the failure to so advise a defendant i s not error; the Court

                                stated, "We shal I not at this time l•plant' verbi age That Js not present-ly In

                                the rule."    ~at        134, (emphasis added).     The Court' in Johnson n~asoned that

                                the decision to run sentences concurrent-ly or consecutively Involves a matter

                                within the trial court's discretion, and that "Crim. R. 11 applies only t o

                                the entry and acceptance of the plea.            It has no relevance to the exercise of

                                the trial court's discret i on at that stage***·"               ld. at 134.      Likewise , in

                                the case at bar, the Issue of what happens after appeal              In the event there is

                                a reversal of a death sentence but affirmance of the conviction on appeal                    Is

                                of no re l evance at the time a jury waiver Is made In the trial court; a t'rlal

                                court simply cannot recite a          laun dry    Jist of    procedura l    possibilities    In

                                appellate courts at the time a jury waiver Is proffered.                   That is simp l y not

                                "what happens in a real        live courtroom."     Johnson,.!..£., at 135, ![Wright, J.,

                                dissenting).           In fact, a jury waiver Is different than a guilty p l ea,             In
        OFFICE OF
 PR OSECUTING ATTORNEY
  SUTLER COUN T Y . O HIO       that It Is simply required to be In writing;                 It Is not required that t he
    JOHN F . H OLCOMB
 PROSECU TING A TTO R N £Y      trial court personally advise the defendant of the consequences of the jury

                                waiver.   ~ v.          Morris (1982) , 8 Ohio App. 3d 12, 14, 455 N.E.2 t:! 1352;
2 16 SOCIET Y SAN K BUIL DING
         P.O . B O X ~ 1 ~
    H AMILTON. OHIO 450 1Z      Sf'ate v. Wilson (June 6, 1988), Butler App. No. CA87-10-140, unreported.



                                                                                            VON CLARK DAVIS v. WARDEN
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                                                                              - 5 -

                                           Def enda nt     also c la ims     that    his   j ury    wai ver    was   11 not    knowing ,

                             I ntel I i gent   and vol untar y "    because It was made o nl y after t he t ria l                  court

                             denied      the   request      to   sever   t he weapons      under     d isability     coun t.          That

                             ar gument    Is "w ater over t he dam," because the Su preme Court held I n t h i s case

                             (aff i rm ing t he Cour t       of Appea ls '   simil ar conclusion ) that          the trial         court

                             pr operly overr u l ed defendant ' s mot ion to sever t he weapons under- dlsab l l lty

                             count , holding t hat ther e was no error              i n t he joinder of bot h off1enses counts

                             In the same tr i a I , and fur ther reject Ing his " content I o n that he 1~as ' forced '

                             I nto wa i v ing the righT t o        a jury tr i al     because of t he possibll l_!y that the

                             j ur y wo u ld not fol l ow a cur ative Instr uction          * * *·" St ate v . De,~• ..!...2.:_, 38
                             Ohio St .     3d,    at     364 .    The    Supreme Court      found     t hat    defendc:1nt      was    not

                             prejud iced by the jo i nder,          noting In a foot not e that          " The mere possibili t y

                             that th e defendant might have a better choice of t r ial tact i cs li the counts

                             are separ at ed,      or the mer e possibili t y t hat          the defendant migh t             desi r e t o

                             testi fy on one count and not t he other ,               Is Insubstantial and specul ative; It

                             Is not suf fi cient to show prejudice . "                .l.!!:... at 364 n. 7.      Th is Court must

                             apply t he l aw of        t he case doct ri ne,    to fo l l ow the Supreme Court' s previous

                             ru l l ngs In t he case.

                                           Because the wi t hdrawal of         jury waiver         Is a lega l   impos.sibi l ity at

                             Th i s st age of     t he case,     the defendant ' s motion t o w i t hdraw h is Jur y waiver

                             should be overruled.

                                                                                    Respectfu lly submitt ed ,

                                                                                    JOHN F. HOLCOM3
                                                                                    PROSEaJT ING ATIORNEY
                                                                                    BUlt ER COUNTY# 00 I0


       OFFICE 0~
 PROSCCU!'NG ATTO~NEiY
  BUTLEil COUNTY OHIO

    JOHN F . I<OLCOMB
 P ~OSECUTIN G A1'TORNEY
                                                                                    DAN IEL G. EI CHEL
                                                                                    FI RST ASS I STANT PROSECUT I MG 1\TIORNEY
                                                                                    BUllER COUNTY# OH I0
216 SOCIETY BliNK BUILDING                                                          2 16 Society Ba nk Bu il ding
        PO 80XSI5
   HIIMILTON. 0 HI045012                                                            Hami l t on, Oh io 45012- 0515
                                                                                    Telephone : (513)887-3474


                                                                                              VON CLARK DAVIS v. WARDEN
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                                                                        - 6 -

                                                                   PROOF OF SERVICE
                                         hereby certify that cop f es of the within Memorandum was served upon

                               Timothy   R.   Evans,   John   A,   Garretson,   and Michael   D.   Shanks,   .Attorneys    for

                               Defendant, at the i r respective offices by U.S. ordinary mall, this                        day

                               of J u I y, 1989.




                                                                                DANIEL G. EICHEL
                                                                                fIRST ASS I STANT PROSECUT I ~6 ATTORNEY
                                                                                BUll.ER COUNTY, OH 10




        OFFICE 0 1'
 PROSE:CUTING AiTORNEV
  BUTLG:R COUNTV. OHtO

     JOHN F . HOL COMB
 PROS~ CU TING .ATTORNEY




216 SOCIE:T"I BANK BUILDI NG
       P.O. BOX 515
  HAMIL TO N. OHI04501.2




                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                             CASE NO. 2:16-cv-00495
                                                                                              APPENDIX - Page 1108
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                                         STATE OF OHIO                                                     CASE NO. CR83-12-·0614

                                                           Plaintiff                                        STATE OF OHIO
                                                                     Fll ED                               CX>UNTY OF Blffi.ER
                                         vs.                                         tt\            .. touWURT Of COM«>N PlEAS
                                                                                     ¢~\~tl'l " &!I"
                                         VON a.ARK DAY 1s ' 89 JUL 2~ ilm'Jl~ Otbt3U,\n'• Q\·\\O.
                                                                              ~~JT        1\ •. o~nacj     ORDER RE TRANSPOF~T OF
                                                           De.fe~i&ft OF CCI:JRT ~\j\ "''' 1~                FENDAHT AND SHTJM;
                                                             EDWAR D S. H:.l bOElW lfLg t) ROBS.             ARING DATE ON flEMAND
                                                                           E A~           •   C"lE.                            -   -



                                                        It appearIng that the Court that pursuant to the Mandate of the
                                         Ohio Supreme Court In State v.        D~vls     (1988),         38 Ohio St . 3d 361, 528 N.E.2d
                                         925, that Court affirmed the conviction herein, and remanded the matter to

                                         this Court for a resentencing as to the offense of Aggravated Murder with

                                         Specification,    In violation of Ohio Revised Code Section 2903.01<A),                        It is
                                         hereby
                                                        ORDERED    that    the       SuperIntendent           of   the      Sou·thern   Oh lo

                                         Correctional    Facility at Lucasville,          Ohio shall cause the defendant, Von

                                         Cl ark Davis, Institution No. 179-828, to be released to the Sheriff of Butler
                                         County , who shal I cause the said defendant to be transported and held at the

                                         Butler County Jall at Hami lton, Oh io, pending further proceedings herein.
                                                         It 1s FURTHER ORDERED that thIs matter Is hereby schedu I ed for

                                         final disposition on the ___4~t~h~--- day of                    August     , 1989.



                                                                                           SO ORDERED.




                                         Approved liS to Form:

                                         JOHN F. HOLCOfoB
                                         PROSECUTING ATTORNEY
          OF"F ICE OF                    BUllER COUNTY, OH I0
 P~OS ECUTI N G A TTORNEY
  B U T L ER COUNTY . O HIO

    JOHN F . HOLCOMB
 PR056CU TING A T T ORNIEY




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                                                                                                          VON CLARK DAVIS v. WARDEN
                                                                                                               CASE NO. 2:16-cv-00495
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                                                             COURT OF COMMON PLEAS

                                                               BUTLER COUNTY, OHIO
                                                                                                                             FILED
                            STATE OF OHIO                                                               CR83- 1 2-0 W,~
                                                                           *        C.:tse No .:
                                                                                                          '89 JUL C1 Pf') 3 29
                                      Plaintiff                        *
                                            H:~ lo C~:n~l\"1 Pltar; Court.                           CL Ei'\K OF CGLIR TS
                            vs.               BI.JTI fiR (;.;)~Jo'HY, 01-;10*       MOTION TO RENEJ!_ IPb\.JUlO:lS. llroirl'ONffl .




                                                             ** * **** *** *

                                        Now comes the Defenda nt , Von Clark Davis , by and through
                            co unsel , John A. Garretson , Timothy R. Eva ns and tfichael D. Shanks a nd
                            respectfully moves t he Court to renew all Pr etrial Motions previously
                            fi l ed in the above captioned cas, including but not specifically l i mited
                            to all challenges as to the con sti tutio nality of the death penalty s t a tut e
                            p resently at issue a nd the sentencim; scheme thereunder for the reasons
                            previously st~ted and filed by writ ten :t1emorandum and Ora l Argument to
                            this Court .

                                                                           BRESSLER , SHANKS & GEDLING CO. , LPA
                                                                           At t orneys for Defend ant
                                                                           304 North Se ' nd Street
                                                                           Hami lton , 9 io 45011
                                                                           Telephone :           863 - 21~2              ~
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                                                                           By =---,---,'---
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                                                                                                 --.J"~l
                                                                                                       ---:-""--~}.,l. .__J.-/---:
                                                                                                                             ::- -.__~c----
                                                                                    M/   hael D. Shanks (A-282)

                                                                           JOHN    f.. GARRETSON
                                                                           Att o~ney       for Defendant
                                                                           616 Dayton Street
                                                                           Hamilton, Ohio 45011
                                                                           Telephone: 863-6600

                                                                           By   =__,.....,...!J_~~~t-..~4:. _'._;6
                                                                                                                 :; :.._.~
                                                                                                                         ----'A'---r.......__
                                                                                                                                     _ __
                                                                           TIHOTHY R. EVANS
                                                                           At t orney for Defendant
                                                                           315 South Monument Avenue
                                                                           Hamilton, Ohio 45011
                                                                           Telephone :           86a,:. 7600

                                                                           By :
                                                                                      !_)!        +---
                                                                                                  I    ~
                                                                                                         fl
                                                                                                    vs<:-'t-J
 BRESSLER, SHANI<S
 & GEDLING CO .. L P .A .                                                           Timothy R . Evanl
  ATTORI'e:YS AT lAW
30.i NORiH SECOND STRE~
 HAMILTON, OHIO "15011


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                                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                                      CASE NO. 2:16-cv-00495
                                                                                                       APPENDIX - Page 1110
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                                                        CERTIFICATE OF SERVICE

                                          I hereby certify that a copy of the foregoing Motion Y.T.as hand
                             delivered to Mr. John Holcomb , Prosecuting Attq.rney , 216 S9~iety Bank
                             Building , 2nd and High Streets, Hamilton, Ohio 45011, this       1    day of
                             July , 1 989 .




                                                                      j~ J     --T IZ 'C-.-
                                                                 By:_-=:_--,,---::---=--- - - - - - - - - - - -
                                                                      Timothy R. Evans




 BRESSL ER. SHANKS
 & GEDLIN G CO.. L.P.A ,
  ATTORNEYS AT LAW
304 NORTH SECOND STREET

 HAM ll.T ON. O HIO 450t 1


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                                                                              VON CLARK DAVIS v. WARDEN
                                                                                   CASE NO. 2:16-cv-00495
                                                                                    APPENDIX - Page 1111
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                                                                 COURT OF COMNON PLEAS
                                                                  BUTLER COUNTY ,   OHIO
                             STATE OF OHIO                                 F ILE Base No . :   CR83-l2- 0614

                                          P l ain t iff
                                                                 '89 JUL 2~ Prrl 3 29
                             vs.                                         * HOTION TO PER1'1IT THE DEFENSE
                                                                     cLERK RF QlQlURir~·r ALL RELEVANT Evr oENCE
                             VON CLARK DAVIS               ~ \",.II
                                                      El' ...
                                                      l l• •.u
                                                                    f.t' 1
                                                                                   ,.,:~
                                                                           Vl1R8l ~\IV   1'Jl.ERSENTENCI NG PRASE - -
                                                       "8un . 6R r·o~j:-\JV.
                                                              II                       - --                 ---


                                          De f enda nt       J\Jl ~H ·\nf:t~
                                                       EOWARil ~.* Pf)B~i!~ * * *

                                          Now comes the Defendant , Von Clark Davis , by a nd t h rough
                             counsel, J ohn A. Gar retso n , Timothy R. Evans and Hi cha e l D. Shanks and
                             respectfully moves this Cour t tCJ permit h im to submit all ev i dence at the
                             sentencing p h aGe which may be relevant, minimally rel iable and tru s two rthy
                             unde r t h e authority of State vs. Gl enn , 228 Ohio St . 3rd. 451 , incl uding
                             any evidence , r egardin g facts and circumstnn ces occurring t>ub:sequent to
                             the conviction in the a b o ve. captioned case. .

                                                                 MEHORANDUN IN SUPPORT

                                         T11e  Ohi o Rules of       Evide nce ,  Ohi o    Case :..a~v :lnd F·~deral
                             Constitutional prec edent d e mons tra t e that mitigating evidence oust be
                             adm:i.t:ted at a s entencing h ear i n g if i t is relevan t and d emons tuHes ?..
                             minimum de gree of tr ust wort h i ness a nd relia bil ity .   Ohio      Ru les     of
                             Evidence , Ru l e 1 01 , states in p ertinent part at Sub~'<:ctior. (3) , t hat the
                             stL:ict rules of evidence d o not apply t o sentencing hearin,~ s .           Further,
                             in State vs. Gl enn, 28 Ohio St . Jrd . 451 (1986) , the Court returned to its
                             earl i er stance that a s long as reliable and trustworthy evider~ n can be
                             minimally lnsu red i t lllay be admitted at the mitigation p hase .

                                            Further , the Eigl1th Amendment of t he United States Cons titution
                             r- equire~    t hat a c apital sentencing a u thority " be allowed to c o n side r on
                             the bas is of all r e l evant evidenct! , not only ,.;hy d eath sentence s h o u ld be
                             imposed , but also why it s houl d not be i mposed", (Ju rek vs . To::.>J<;aS, 428
                             U. S. 262 at 2 71) .      In the present case ,.,e have an unusual situation where
                             t he Court has a s ked t o reconsid e r the imposi tio n of t h e death pe:1alty
                             appro~;imately five ( 5 ) ;'ears after the o ri ro,in ::.d con vict i on . l"u ndamental
                             fairness recruires that this Court , so consideri ng s uch a penalty, should
                             reflect upon all o f          the ev ~den ce being offered by Defendant. since
                             Defendant ' s conduct subsequ <?.nt to the convictior: may in lar g e p&rt tip the
                             b a l ance i n favor of life .    The Chief J ustice of t he United S tat es writing
                             for thep l ur ality in Lockett vs . Ohio , 438 U. S . 586, noted that :

                                   the s.~ntencer, in all bu t t h e r arest kind o f capital case ,
                                   not be p r ecluded from consideri:J.g as a mitiga tin)':; fa ct o r,
 BRESSLER SHANKS
                                   any aspect of a de fend ant ' s character o r record and any of the
 & GEDLING CO .• L .P .A .         circ umstances of the offense that t he defendant proffers as a
  ATTORNEYS A T l.AW               as a basis for a senten c e less than death .
304NORTHSECON0$1REET
 HAMILT ON. OH IO 4501 I

      513-663-21 '12




  1 3~
                                                                                           VON CLARK DAVIS v. WARDEN
                                                                                                CASE NO. 2:16-cv-00495
                                                                                                 APPENDIX - Page 1112
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                                        The Locke tt Court went on to conclude that to deny the Defendant
                            from p resenting a::1y mitigating evidence at a sentencing hearing when the
                            c hoic e was betwee n l i fe and death , subj ected the Defendant to a risk that
                            was u naccep table a nd incompatible \..ti t h the comma nds of the Ei g hth a.nd
                            Fourteenth Amendment s of the Un ited St a t es Constitu ti on , In tht~ present
                            case, Defendant wishes to provide this Court with additional evidence as
                            to his exemplary conduct post: conviction for the crime at issue and
                            believes t hat such evid e nce wi l l provide substautifll ITlitigating factors
                            f or this Cour t to c onsid er under the Statutes of t he State of Ohio.

                                      It is t h erefore respectful ly request ed that t he Def1e.ndant be
                            specifically a llowed to providii! a l l evidenc e of mitiga t ing cir-cumstances
                            regardless of the natur e , type o r timing of such evide nce at the hearing
                            in this matter .

                                                                  BRESSLER, SHANKS & GEDLING CO . , LPA
                                                                  Attorn eys for Defendan t
                                                                  304 North Second ~ tr ee t
                                                                  Hamilton , Ohtio / 4 5011
                                                                  Telephone : 86 - 2112

                                                                  By :   \.            __./',         C.) )
                                                                          Michaej               D. Sh a nks (A- 282 )

                                                                  JOHN A. GARRETSON
                                                                  Attorney for Defendant
                                                                  616 Dayton Street
                                                                  Hamilton , Ohio 45011
                                                                  Telephone: 8 ~3 - 6600

                                                                  By:             -' .) t       \ ) (t,_   I~ . c~fr-__
                                                                          John A. Garre tson

                                                                  TIMOTHY R. EVANS
                                                                  Attorney for Defendant
                                                                  315 South Monument Avenue
                                                                  Hamilton , Ohio 45011
                                                                  Teleph one : 868-7600

                                                                                   J        {<-,._.._~f.-. /(_   ~~
                                                                  By : __~T~i~m-o-t7h-y~'~R~.~E~v~~-
                                                                                                   ,.f3~~----------------
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                                                        CERTIFICATE OF SERVICE

                                        I hereby certi f y tha t a copy of the foregoing Mo tion was hand
                            delivered to Mr . John Holcomb, Prosecuting At torn~ , 216 Soc .i.,e_t y Bank
                            Bui l ding, 2nd and High Str eets, Hamil t on, Ohio  4~{jll this   -1  day of         2
                            July , 1989 .

                                                                  By :
                                                                                                 !' l('/J--.;l~
                                                                                                J-_
                                                                                                        ~ -~ ~
                                                                          Mi'i1fael / D. Shanks
 BRESSLER. SHANKS
 15< GEDLING CO.. L.P.A .                                         By:     J I                    ;-- J.1 - 0~
  ATTORNEYS AT LAW                                                        John A:, Garret son
~NORTH SECOND STR.E.t:-
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 HAMILTON. OHI04501 1
                                                                  By : If                       [,.-t_ ce__
      513-Bt;a-? 1 I 2                                                    Timothy R. Evans




                                                                                            VON CLARK DAVIS v. WARDEN
                                                                                                 CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 42 of 105 PAGEID #: 1148




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               Sgt. Gordy Pullman, Unit Counselor, Death
               Sruthern Olio Correctill"'al Facility
               P.O. Box 45699
               Wc::asville, Olio 45699
               CRBJ 12 0614 Subpoena
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               7.                                                              EDWARD S. ROBS, JR.
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                Capt. Oscar ttGra~~, Unit ~1mager, Death Ra..!                                         -
                Southern Ohio Correctional Facility
                P.O. Box 45699
                Ulcasville, Olio 45699
                CR83 12 0614 Subpoena

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                                                                              EDWARD S. ROBS, JR.
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                                                                                                VON CLARK DAVIS v. WARDEN
                                                                                                     CASE NO. 2:16-cv-00495
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                             STATE OF OHIO                                                  CASE NO. CR83-U2-0614
                                                   PI a I nt l ff                           STATE OF OHIO
                                                                                            COUNTY OF BUTLER
                             vs.                                                            COURT OF COMMON PlEAS
                             VON CLARK DAVIS
                                                                                             AffiDAVIT
                                                   Defe.ndan-t



                             STATE OF OHIO,
                             COUNTY Of BUTLER, SS:
                                         Dan iel G. Eichel, First Assista nt Prosecuting Attorney, oelng fi rst

                             duly sworn,     says that he represented the State In t he appeal her·eln at ora.l

                             ar guments before the Supr eme Court of Ohio sitting in Ci nc I nnat i, OhIo, on

                             Mar ch 2,   1988.       Represent ing defendant was Timothy R.             Evans.      Our i ng his

                             argument, Mr. Evans was asked a question oy one of t he Justices r ogar ding the

                             possibi l lty of a remand to the or ig i na l three judges In the eve•nt t hat                 the

                             Court were to reverse the death sentence based on error I n the tr·l al cou rt's

                             opinion,    and whether the same three judges were available .                      On said date,

                             Judge Bruewer was t he duly appointed Judge of the Probate Div ision of the

                             Butler County Court of Common Pleas.             Mr. Evans represented t o th'~ Court that

                             the three judges remained on the Common Pleas bench , and that he w1ould assume

                             that the or i gi nal      t hree Judges wou ld be available.              Another question was

                             asked by one of the Justices whether t he death pena l ty cou l d agail n be sought

                             on    remand;   Mr.     Evans    repl led   In   the    affirmative,   and    agreed    with   the

                             Just ice's comment       that~         would not apply because thi s was a three-judge

                             panel rather than a jury tr ial.




        OFFICE OF
 PROSECUT ING A !TORNEY
                                                                                    DANIEl G. EICHEl
  BUTLER COUNTY . OHIO

    JOHN F . H0CCOM6                     Sworn to and subscribed In           my presence th is£~                 clay of JIJiy,
 PROSECUTING ATTORN<:Y       1989.

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                                                                                           VON CLARK DAVIS v. WARDEN
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                                                                                                                                      IM~(~D

                               STATE OF OHIO                                                                        CASE NO. CR83-12-0614

                                                      Plaintiff                                                     STATE OF OHIO
                                                                                      fiLED                         COUNTY OF BUTLIE'R
                               vs .                                                              . 2. 'l'l          COURT Of COMMO~ PLEAS
                                                             t:!.SJ !.,~..JUL 'Lo r~
                                                                aur               .., r ,        ~ ·o 1   s
                               VON CLARK DAVIS                              'C\. £ Ri ~~cl).1.~~ : ·. , :1 MEMORANDUM IN OIPPOS IT I ON
                                                                            ( 1. .., 5 \1£ ,;3.             TO DEFENDANT'S MOTION
                                                                                                          ,)1   •

                                                      oef.G~~t EIJ ;~.:_>6rU                                    TO PROH I B IT 3-J UIOGE PANEL
                                                                            S. ~fJ[1n .
                                                                        1
                                                                                                                FROM RESENTENCING TO DEATH
                                                                                   t .. ~
                                                                                   ' .{ t:R'f!
                                                                                                                 AND TO D I SQUAliiFY PANEL




                                              Now    comes      John F.          Holcomb,         Prosecuting Attorney,                 and says that

                               defendant's         motion       to    proh i bit       this three-judge                    Court   from   ,-esentencing

                               defendant to          death,      or     a l ternatively           to      disqua lify the panel,,             should be

                               overruled.

                                              Upon remand from an appe I I ate court,                                 a I ower court rr~ust proceed

                               from the pol nt at which the error occurred.                                         State, ex rei. S1revenson, v .

                               Murray (1982), 69 Ohio St. 2d 112, 431 N.E.2d 324; Tye v. Bd. of Edn. of

                               Polaris Joint Vocational School _ District (1988),                                         44 Ohio App. 3d 76 ,

                               N. E. 2d    ---,     paragraph         two of       the      sy I I abus.             See genera I I y     5   0   J ur 3d,
                                                                                                                                                  1




                               Appel I ate Rev few,         §   717 .           That point,         in t h is case,             is specifically the

                               redetermination of sentence under Ohio Revised Code Sections 2929.03(0)(3)

                               and 2929.03(F).           The Oh l o Supreme Court remanded the case at bar to the

                               three-judge panel         who orginally heard the trial                                and had previously          Imposed

                               sentence, "for a resentencIng hear i ng sol el v for the purpose of determInIng

                               whether       the    remaihing         aggravating            circumstance                 outweighs   the     mitigating

                               factors***,"              State v. Da'l i_~ (1988), 38 Ohio St. 3d 361, 373;. 528 N.E.2d
                               925 .      At said resentencing hearing, " the state may seek whatever· puni shment
        Oi'!'ICEO~
 PAOS,CUTING ATTORNEY
                               Is      lawful,      including,        but       not    I lmlted        to,          the    death   sentence."
  B UT LER COUNTY. OHI O

    JO l-IN F HOL COM B
                               sy II abus.
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                                             The Supreme Court 1 s I ead op In l on by Justice Locher,            In which four

                              of the justices concurred,          noted that "This action did not lnvcolve a jury

                              recommendation .       Consequently, we are not compelled to find our decision In

                              Penix, supra, [ State v. Penix (1987) , 32 Ohio St. 3d 369, 513 N.. E.2d 744],

                              control I lng In this matter."        S~ate v .    Davis, supra, at 373.        Justice Hol mes ,

                              who dissented on the ground that he would have found that there was no error

                              In the or I gIna I sentencIng dec lsi on, restated hIs or I gIna I d I sagr•eement wIth

                              the Penix case , and would I ikew l se find no obstacle t o the three-judge panel

                              conducti ng a resentencing hearing;             In his op in ion,      any three judges could

                              redetermine sentence under Cr l m.        R. 25(8), even I f any or alI of the original
                              t hree judges were      unave~i le~ble,   S~llte   v. Davis, supra, at 373-375.            <Thus,

                              five out of seven Justices would agree that the resentencing can take place.)

                              Dissenting Just ice Douglas,         with whom Chief Justice Moyer concur red,                 would

                              I I kew r se have found that the or I gIna I sentencIng decIsIon l n this case was

                              not error; however, Just ice Douglas took exception to the majori ty's remand

                              for   resentenc i ng    Inclusive    of   the     death   pena lty ,    disagreeing     wTth     t he

                              majority ' s    finding that     Penix was      not controlli ng.         It   Is   upon J ustice

                              Doug I as 1 s dIssent that defendant bases hIs argument,                whereas     It was c I ear

                              that five out of seven Justices disagree with that position.

                                             It was represented at the ora I argument before the Ohio Supreme

                              Court by counse l for de fendant, Mr. Evans, that the three judges who were the

                              trIa I pane I    In this case remaI ned ava II ab I e for a rehearIng, andl that there

                              was no obstacle to the pane l ' s abil lty to hear the case on remand inclusive

                              of the deat h pena l ty.      That wa s on March 2, 1988, when Mr. Evans knew that

                              Judge Bruewer was the Probate Division Judge.                    The    Idea that remand was
        ofnCE Of'
 PROSttU riNG ATTORNEY
  9UTL_E_R COUN TV, O f-110   avai lable, Inclusive of reconsideration of the death penalty, may have been a
    JOHN F. HOlCOMB
 PROS~CUTING ATTORN !;:Y      determining factor       In the Supreme Court ' s decision to remand the case tor

                              r esentencing Inclusive of the death penalty.
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                                                  Why dId counse I for defendant represent to the Supreme' Court that

                                   the same three- judge pane I                cou I d hear    the case on remand,      Inc Ius I ve of tile

                                   death pena I ty?              No doubt counsel         considered the fact that the alternative,

                                   (i.e., to hold that there was no possib l l lty of remand and tllat only a I lfe

                                   sentence was poss I b I e after error was found                     In the sentencIng dec 1s I on),

                                   would have a chill lnfl effect on the Supreme Court's considera-tion of his

                                   argument that the written opinion's error was prejudicial                          and wa1s not cured

                                   by     Independent revIew,              as the court of        appea Is had found.         S•E!e Stat·e v .

                                   Davis, supra, at 372.                At any rate, regard! ess of the mot! vat ions of counsel,

                                   we cannot to! erate a party makIng representations to the Supreme, Court upon

                                   which that Court relies In making Its decision, only to see the same party

                                   making the opposite arguments at a later proceeding In the same Cclse before a

                                   different       court        when    the    previous       representation    no   longer     serves    his

                                   purpose.

                                                  The " law of the case" doctrine requires the trial court to follow

                                   the mandate of a reviewing court in subsequent proceedings on the same case,

                                   see 23 0 Jur 3d Courts and Judges, §506, and 5 0 Jur 3d Appel l at·e Review, §

                                   718.        The Issue previously decided !n this case                     Is res Judicata, and the

                                   trIa I    court        Is    bound   to    fol I ow   the mandate of    the Supreme Court whIch

                                   remanded the case              "for a resentencing hearing solely                 for the     purpose of

                                   determi ning       whether        the     remaining     aggravating circumstance       ou·tw elghs     'the

                                   mIt f gating factors           * * *,"        a-t wh r ch hear r ng "the state may seek whatev er

                                   punishment        Is    lawful,      Including,       but not limited to,     the death sentence."

                                   State v. Davf $;            supra, at 373.            The remand was to     "thaT trial court," see
                                   ~.       sy ll abus,        (referring fo the three judge pane l which Imposed the death
         OFFICE O F
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  BUTL£R COUNTY. OHIO              sentence that was vacated).
    JOHN F HOLCOMB
 PROSECUT ING A.iTORNEY




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                                                                                                       VON CLARK DAVIS v. WARDEN
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                                            As    does defendanT,   The State also      I ncorporates by re~ference the

                                 essentia l arguments made I n the Supreme Court of the United States as to why

                                 there Is no constitutional     bar to the resentencing procedure,             l1nc f uslve of

                                 reconsideration of the death penalty, as required by the Ohio Supreme Court's

                                 mandate to this trial court.       The Ohio Supreme Court ' s decision Itse l f cited

                                 two cases,      Skipper v. ~ Carol in~          ( 1986),    476 U.S.   1,   and Poland '/.

                                 Art.:zona (1986), 476 U.S. 147, which held that the Dout>le Jeopardy Clause
                                 poses   no bar to reconsideration of the sentence of               death where a death

                                 sentence has been reversed on appea I and the case 1s remanded' "for further

                                 proceedings.     The relevant pages, 12 and 13, of the State of Ohio's Brief In

                                 Opposition to Petition for Writ of Certiorari are Inserted herein:




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                                                                                            VON CLARK DAVIS v. WARDEN
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                                       Ill.        1ho     Oh io        Supremo     Court' s      doclslon      pend·l· llng     1ho

                              rosontenclng of o cop ll el defonfiont,                        Includ i ng recons l deretlon of

                                  t ho dea"llr sentenc e,       by a l hrc&-Judge tr i a l            court which 1rlod fho

                              cnso, af1er reversal of such trlel court f or en err or o f 11111 In Its

                              wrlllon s onlenclng decision mandated by ste1e 11111, doos not oflor'd

                              !he         Ex   Pos t    Facto       Clouse,        tho    Slxlh
                                                                                                      .
                                                                                                     llnlendmenl ,     tho   Eighth

                              1\mondmenl , or 1he Duo Process ond Equ111 Prot ect i on Clousos of !he

                              rourleenlh f1111ondmont o f 1he United Stales Constitution.



                              Asi de frQII the jiJrlsdlctlonal dif ficulties ll'lth addressing a doalh                                 pon~dty


                    I ssuc        where    no deat h pena lty             has boon        Imposed,     [Ports    I 11nd I I s upro],          !he

                   several ar· yuments of Pelltloner's First Question Presented are wi thout morlt.

                             On the Equal              ProJection         Issue,    valid grounds exist' on whi ch               to mako        11

                   dlsf lnctlon belween sltuetlons o f                      the respect l ve defendants In Stole v. renlx. 32

                   Ololo St. ]d 369, 5 13 N.E. Zd 744 ( 19671, and the situation at bar.                                     Tho revers i ble

                   error In Pen ix ~ras <!t 11oe Jury recommendation shlge o f tho penalty phasfl, wlher·o

                   1I1C J ury r ecommendation of death was made es a result of a flilwed hearing du·~ fo

                   Incorrec t Jury Instructions or !1nproperly admitted evidence at the hcor lng.                                              In

                   t he    s l tuetron         presented      In        the case at        bar,      however,        a written   sentencing

                   decision          by    o     three-judge cou•·t,              (mandated     by    law    undor     Ohio Rcvlsod         Code

                   S2929.0:HFl lor th o ;,pparent pur·poso of fac lll1a tlng mandatory appellate review
                   o f the death sentence) , was In error on                          Q   molter )of lmr.        Reversol end rcmzmdlng

                   was    "solely          for    tho purpose of            determ ini ng whether           the r ema in i ng aggrave,f log

                   c lrcumsfanc;e outweighs 1he mlllgo l lng                         fact ors     presented by [ O!!vls],          boyond 0

                   reasonab le doubt."                  ~          v.    Davis,     supra,     at 373,       526 N.E.2d,       at 936,       lho

                   Pol l l l oner here Is In t he same position as would be e cap ital dofondan t,                                         1-rled

                   wi thout tr ·l al er ror I n th e            pene~lty        s"lage end for whQII the Jury recommoroda11on wes

                   a ffirmed ar.           fac;tuolly      suppor·te d by          the evidence,          but -tho singl e tria l          .fudge

                                                     ' the recommendl!ltlon of doath had made M arror
                   pr esiding over his Jury trial after

                   In     t t>e     sor~tenclng        decis i on       under    Ohio     Rov I sod Code S2929.03(F ).                In    that

                   ltypotl)ot lce t sconarlo, (which l h"IS yet to lrappen In Ohio), a remand t o that ·frl!ll

                   Judge for· reconsideration o l seutenca Inc I uslve of the death peMI1y ~<oul d pi oce

                   a cnpltal defendant tried by j UI y 111 t he sanro posture 11s tho Potl tlollor hero.



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                               Further,        tt· Is no different here for the Supreme Court ot Ohio to rovt!rse o

                     wr I I ten decision ot the t hree-judge tr-Ial court than when 11 stafe 1 s highest court

                     reverses the state's Intermediate reviewing court on a matter of                                        ID• they have

                    misstated           In     their     decision.        A jury        recommendatIon       stands     on    a    d lll'eren t

                     f oo ling.       Th is Couri has recognhed that "the                   jury 1 s   role In the cdmlnaf pr-ocess

                     Is essentially unr ev lewable and' not always retlbnal."                              Spazlano v. clor-ld<l, 468

                    U.S. 447, 4 55 (1964).                    On the other hand, the writ-ten opinion of a three··judgo

                    puroe l     Is lnten11onally r·ev lewubl e,            <~nd    Is required to be r·11t lonal.

                               Petit ioner's         Sixth        1\menument   jury     trlel     Issue    Is apparently based sub

                    silen ti o on United Stales v.                    ~.        390 U.S. 570 (1966), but It Is difficult to

                    accept       the     th eory       that     the   right    to a      Jury     trial   was    "chilled''       whena      tho

                    dclenuant made a know lng and v olun tar y choice available under state I a"                                         to b e

                    t r ied to a t hree- judge pilnel trial court r ilther than 11 Jury, accepting the <>pi lon

                    11oat Judges, and not a Jury , would determine both his guilt and his pun ishmen t.

                    Sco Lcx:kett v. Ohio, 436 U.S.                      566, 633-635 ( 1976) <Rehnqulst, J., dlssenflngl.

                    Si nce bo t h procedures aro suff l clent ly fair to satisfy the Constltui· Jon, the•r e Is

                    no lnf lrml ty            In requi r ing Pel It loner to choose which he prefers.                        ~.      at 634.

                    See at so Sp<~zlano,               supra,      at ~55-~57,      (discussing the fairness of a de lemdanl

                    hav lng to choose between walv lng a statu·te of                            llml111tlons defense 1o a I esser

                    cr ime      t han    murder,         or    having    the      benefit    of     the    l esser    I nc luded     offense

                    Instruction In a capital murder prosecution),

                               Pet i tioner alludes to an ex post                   facto   p~9blem,      without exptanat· l on; but

                    fre<n -the decision of               tl1e Ohio Supreme Court It Is clear that this was simply 11n

                    l 11ferpre1at lon o f           a st11tutory        schane enacted by           the General       flssemo ly    of      Ohio

                    before the Petltoner 1 s criminal                   act,    and tl1e lnterpr etatloo Is fairly discerned

                    In the language of ihe s-tatute.                    See Dobbert v. Florldt~, 432 U. S. 2112 ( 1982>,

                               F i nally,      t he Ohio proce dur e does not             Incline      llsel l   t011ar d ar· b ft rary and

                    cilprlclous Imposition of t he death penalty,                        lli, Godfrey ·v. Goorqlo, 446 U.S. 420
                    ( 1900).         There Is nothlng In 11ie remanding It self to ral~>e the PetltloMw's rlsk

                    of   sullerlng            tho   lmposltton of        t loe deoi h    pena lty,      but r a'ther,    It lf05      o~s   tho

                    t usul t    of    hi ~>    appea-l   t ha t    he lfas p laced back         I n the Slime position a t            h•e was

                    Loc 1ore     t he error         at the pena l ty       phase of       hIs trIa 1.        See North C.:Jro ll11~t         v.
                    l 'carco, 395 U.S. 711 (19691, and ~ v . Arizona, supra.




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                                              F ina lly,   as     to    the      defendant's   objection        to        Judge!   Bruewer's

                              quallflcatlons to serve on the panel on the ground that lie Is Probate Judge,

                              the Ohio Supreme Court has held that a judge of the Probate Division of the

                              Common PI eas Court Is not d I squa I If I ed to serve r n cr lm Ina 1 case~;.                        Sta:te v·.

                              Cot"ton   (1978),       56 Ohio St.          2d 8, 381       N.E.2d    190,   paragraph         four of the

                              syllabus.         Spec If leal ly,       State v. Cotton was a capital             case         In which the

                              Probate Judge served on a three-judge panel.                          The Court reasoned that Ohio

                              Rev I sed Code § 2931.01 (8), wh lch seemingly excludes the probate judge from

                              hearing criminal cases,             Is In confl let with Section 4, Article IV ot the Ohio

                              Constitution,          as    well    as      Section     5(A)(3),       Article        IV     of     the   Ohio

                              Constitut ion, and Is thus                Ineffective to disqualify the Probate Judge from

                              serving on a three-judge pane l                 in a capital case.        1£:_, 56 Ohio St. 2d, at

                              ,   381   N. E.2d,     at 194.           Further,    Ohio Revised Code §2301.01                 provi des,    In

                              pertInent part,

                                                  * * *
                                                  Judges of the probate division of the court of
                                              common pi eas are judges of the court of common pi eas,
                                              but shall be elected pursuant to sections 2101.02 and
                                              2101.021 of the Revised Code***·

                              Judge Bruewer was or I g rna I I y elected to the common pi eas bench pursuant to

                              Ohio Revised Code §2301.01                 for the term commencing January 1, 1979; he was

                              reelected to an additional                six-year term commencing January 1, 1985, but In

                              the mi dd I e of said term, he was appoInted to f II I the vacancy of the pr obate

                              judge     who     resigned     his       office,     Judge   Niehaus,    which     remal nd•er        of   term

                              commenced January 3, 1987.                 Thereafter, Judge Bruewer was elected pursuant to

                              OhIo Rev I sed Code §21 01.02 to f II I the remaI nder of the probate Judge 1 s term

                              of office, February 9, 1989 t hrough February 8, 1991. Thus, Judge Bruewer has
        OHICEOF"
 PROSECUT ING ATTORNEY
  BUYLt::R COUNTY, OHIO       continuously remained a judge of                     the court of common pleas ai" all                     times
    J OH N F. HOLCOM!l
 PROSECUTIN G ATTORNEY        pertinent,        and the order of the presiding judge (at the time,                               Judge David

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                              B I ack) shou I d rema i n In f u II force and ef feet as the I aw of the Cclse hereIn.
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                                            In conc lusion, the defendantts moti on to prohibit this three-judge

                                pane l   from resentencing defendant to death and motion to disqualify panel

                                should be overruled.

                                                                          Respectfully submitt ed,

                                                                          JOHN F. HOL<X>~
                                                                          PROSEQJT I NG ATIORNEY
                                                                          BUllER OOUNTY, OH 10




                                                                          DANIEL G. E I aiEl
                                                                          FIRST ASSISTANT PROSEQJTI~IG ATTORNEY
                                                                          BUTLER COUNTY, OH 10
                                                                          216 Society Bank Build i ng
                                                                          Hamilton, Ohio 45012-0515
                                                                          Telephone:    (513)887-3474


                                                                PROOF OF SERV ICE

                                        I hereby certify that copies of the wi th in Memorandum was served upon
                                T i mothy R. Evans, John A. Garret·son , and Mi c hael D. Shanks, Attorneys for
                                Defendant, at their r espective offices by U.S. ordinary mal l , this    25th
                                day of J u I y, 1989.




                                                                          DANIEl G. EICHEl
                                                                          F I RST ASS I STANT PROSEa.JT HIG ATTORNEY
                                                                          BUll.ER COUNTY, OH I 0




          OFFICE O F
 PROSECUTING ATTORNEY
  B U T LER COUNTY. OHIO

    J0Hr4 F . HOLCOMB
 PROSECUTING ATTORN EY




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                                                                                    VON CLARK DAVIS v. WARDEN
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                State of
                                             f\r\ lQ 0'1                    COMMON PLEAS COURT
                                                                            BUTLER COUNTY, OHIO

                                                                            Case CR 83-1 2-061 4
                - vs -

                Von Clark Davis                                                 E N'I' RY



                                           . . . .. .......
                                         ......        .. . .- .. ... ...
                           I t appearing to this court that The Supreme

                Court of Ohio by dec i s i on in the case of S tate v. Davi s ,

                38 Ohio St . 3d , 361 held:

                           When a reviewing court vacates the death
                           sentence of a defendant imposed by a
                           three - judge panel due to error occurring
                           at the penalty phase , not o t herwise
                           covered by R.C. 2929 . 06, and the
                           reviewing court does not find the
                           evi dence to be lega ll y insufficien t to
                           j ustify imposition o f the death
                           sentence, such reviewing court may
                           remand the action to that trial court
                           for a resentencing hearing at which the
                           state may seek whatever punishment is
                           lawful, including , but not limited to ,
                           the death sentence .

                           And i t f u rther appearing that the trial court

                that held the origina l trial of State v . Davis was a

                three-judge panel composed of Henry J . Bruewer , John R .

               Moser a nd William R. Stitsinger , and ,

                           It further     appear~ng                 t hat Henry J . Bruewer is

               n ow a Common Pleas Judge , Probate Division of t h is county

               whereas he was a jud ge in the General Division at the time


                                        J0043P66.4
               J udge
1 ~0           WilLIAM R. S'DTSINGER



                                                                              VON CLARK DAVIS v. WARDEN
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                                              l] I •.., id
               of the original trial,·            ~
                                                      r,.    t.l,   '--'
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                                                             "I n~u:
                          It is therefore hereby ordered in accordance

               wi th Rules of Superintendence for Courts of Common Pleas,

               Rule #2 tha t the undersigned as Presiding Judge does hereby

               assign Henry J . Bruewer from the Probate Di vision to

               serve in the General Division ( trial divis i on ) to hear

               together with Judges Moser and Stitsinger t h e remand for

               a resentencing hear i ng as ordered by The Supreme Court of

               Ohio above referred to .




                                                 /~     Presiding Judge




                                          •



               J udge
               WILLIAM R. S'DTSINGER



                                                                           VON CLARK DAVIS v. WARDEN
                                                                                CASE NO. 2:16-cv-00495
                                                                                 APPENDIX - Page 1125
                              Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 54 of 105 PAGEID #: 1160



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                                                                                Precipe for Subpena-In Ciiril Case
                                                                                                                                            STATE                                    r~D
                                           '                                                     R~vist"d Cod<", Sec. 2303.01. 23 17.11-.13                                   &~~




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                                                                                       vs.              Plaintiff....


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                                      .f\ To the C?erk:-Issue Subpena for                                                                        RiESIDENCE
                                                      Capt . Oscar McGraw, Unit                                              8onthern Ohio Correctional
                                                        Manager, De~th Row                                                     Facility, P. 0. Box 45699,
                                                                                                                                 Luca.;sviile~                    ohio ·45699 ... ...
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                                      \j              Herb Wen dler, Social Worker,
                                               3 ........ Dea,t]1 R()\V . .                  -   l· . " .........          . f)~m~ ...... . ffi~as--CoUft-- .. ... ..................
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VON CLARK DAVIS v. WARDEN




                                               8
                                               f)
     CASE NO. 2:16-cv-00495
      APPENDIX - Page 1126




                                               10
                                               to appear as witnesses in a.bove named case. on.... :~:~.~-~~?:.~ ...~::~~-?.!:..:!......

                                               •4. D. 19 8                  ~, at 9 00 a' c!ock
                                                                                       =                   A ••lf.      f@rl/f:r~~·~~,a_~t
                                                                                                                           OHiN A. GARRETSON
                                                                                                                         Att.'y for the........Da-f.endaAt ............
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 55 of 105 PAGEID #: 1161




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                                                                                                 s.         BIOTI{E.RS, P UBLISHERS, SPRING~IELO, O HIO   .,._,.

 SUBPOENA (including command to produce document or object)

 DISTRIBUTION
 White - Serve
                   IN THE ___c_ o_m_m_o_n__P_l _e_a_s__c_o_u_r_t_ _ _ _ __ _ _                                     Hamilton
 Pink . Clerk                                                                                                                                        , OHIO
 Green - Ra1urn
 Canary- Allomey                                               (Court)

                   State of Ohio                                                                           c_R8_3_1_2_ C,I6!4
                                                                                                Case No. ___

                                  vs
                                                                                                                    SUBPOEI~A
                   Von Clark Davis
                                                                                                                    CIVIL/CRIMINAL                  0     CR
                                                                                                                    DUCES TECUM                     0
          Sgt. Gordy Pullman, Unit Counselor, Death Row,                GRAND JURY                                                                  0
 To:      Southern Ohio Correctional Facility, P.O. Box 45699, Lucasville, Ohio 456SI9
                      YOU ARE HEREBY COMMANDED to appear in the _ _c_o_m_m_o_n_P_l_e_a_s
                                                                                       ___ Court of                                          Butler County

 on the ---" t..:.h_ _ _ day of _ ___:A.:..u~g"---u_s...:t___ , 19 ~ at ____9_:_o_o_ __ o'clock _ A_ M (Courtroom II _ __
           4..:.

 to attend and give testimony on behalf of _ _ _ _ _ _.:::.
                                                      D.:::.
                                                           e.:::.
                                                             f .:::.
                                                                e :.:.
                                                                    nd.:::.a.:::.:n:.::.:..
                                                                                      t _ _ _ _ _ _ _ in the above entitled case ur1der penally of law.

 And, to bring with you




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Ju_l_y_2_6_t_h_ _ _ _ _ _ _ _ _ _ _ _ , 19___!2_                                                                 ;
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                                                                                                E-dward S. Robb · .!r.
John A. Garretson Attorney
                                                                                                                                 /
                                                                                                                                     '       .
 Attorney for _ _ ___,!Dae..,f~e..._n~d!,!;;a~n!.,!,t,___ _ _ __ _ _

616 Dayton Street , Hamilton Ohio 45011                                          by
                                                                                 Deputy Clerk


 Attorney Address and Phone
                                                                       '.
                                                                       '
                                              (NOTE - Present this Subpe na when claiming _y:our f ee.)




                                                                                                      VON CLARK DAVIS v. WARDEN
                                                                                                           CASE NO. 2:16-cv-00495
                                                                                                            APPENDIX - Page 1127
     Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 56 of 105 PAGEID #: 1162




~1'\~UB~ifA                  (lllcludlng command t       oduce document or object)
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          Green · Return
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          Canary • AUornoy

                             State of Ohio                                                              Case No. _ _c_R
                                                                                                                      _8_3_ I2_ 06 14

                                             vs

                             Von Clark Davis
                                                                                                                       SUBPOEINA
                                                                                                                       CIVIUCRIMINA,L                 0 CR
                                                                                                                       DUCES TECUM                    0
                  Herb Wendler, Social Worker, Death Row,                                                              GRAND JU RY                    0
          To:     Southern Ohi o Correctional Facility, P. 0. Box 45699, Lucasvi lle, Oh io                                               561<,1

                                   YOU ARE HEREBY COMMANDED to appear in the ____C
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                                                                                     __o_n__P_l_e.:.__
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                                                                                                                                                             .
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          on the ____

                         · test1mony
          Io aItend and g1ve    ·                       Defendant _______ in the above entitled case under penalty of law.
                                     on behalf ot _________:____:_.:.__.:..:...._.::.._

          And, to bring with you




         July 26th
          -------------------------- - - - - · 19~
                                                                                                     Edward S. Rohb Jr.
         John A. Garretson Attorney
                                                                                      Clerk of Courts
          AHorney for _____~D~e~f~e~n~d~a~n~t~--------
                                                                                                     C. Carpenter
         616 Dayton Street , Hamilton Ohio 45011
                                                                                      Deputy Clerk


          Attorney Address and Pno ne
                                                      (NOTE - Pre~~ent th t• Subpena when cl ai ming your    •••·l --~----~~'------------J




                                                                                                             VON CLARK DAVIS v. WARDEN
                                                                                                                  CASE NO. 2:16-cv-00495
                                                                                                                   APPENDIX - Page 1128
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 57 of 105 PAGEID #: 1163




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                        State of Ohio                                                                                CR83 12 0614
                                                                                                 Case No. _ _ _ _ _ __




                        Von Clark Davis                                                                          SUBPOEINA
                                                                                                                 C IV IUCRIMINA.L               [N CR
                                                                                                                 DUCES TECUPVI                  0
             Capt. Oscar McGraw, Unit Man ager, Death Row,                                                       GRAND J URY                    0
    To:
             Southern Ohio Correctional Facility, P.O. Box 45699, Lucasville, Ohio 456~~9
                     YOU ARE HEREBY COMMANDED to appear in the _ _C
                                                                  _o_m_ o_n_ P_l_e_a_s___ Court of Butler County
                                                                     _m
                    4th                        August                     89           9:00                          A
    on the _ _ _ _ _ _ day of                                   , 19 _ _ at - - -- - - - - o'clock _ _ M (CourtrCiom # _ __
                                                               Defendant
    to attend and give testimony on behalf of - - - - - - - - -- - ----:,--------                   in the above entitled case under penalty ol law.

    And, to bring with you




July 26th
    -     - - - - - - - - - - - - - - - - - - - - - - - · 1~                                       -
                                                                                                 '
                                                                                              Edward S. Robb
John A. Garretson Attorney
                                                                               Clerk of Courts
                                                                                                  -·
    Attorney foir _ _ _ _
                        D_e_f_en_da_n_t_ _ _ _ _ _ _ __

616 Dayton Street, Hamilton Ohio 45011                                         by
                                                                               Deputy Clerk                      . .~· J
    Attorney Address and Phone
                                                (NOTE - Present this Subpena w hen claiming your tee.J




                                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                                         CASE NO. 2:16-cv-00495
                                                                                                          APPENDIX - Page 1129
   Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 58 of 105 PAGEID #: 1164


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     SUBPOENA (including command tc.                Jduce document or object)
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                          State of Ohio                                                                        CR83 12 01!>14
                                                                                               Case No. _ _ _ _ __

                                       vs
                          Von Clark Davis                                                                 SUBPOEINA
                                                                                                          CIVIL/CRIMINAL          Q CR
                                                                                                          DUCES TECUM             0
              Capt. Oscar McGraw, Unit Manager, Death Row,                                                GRAND JURY              0
     To:      Southern Ohio Correctional Facility, P.O. Box 45699, Lucasville, Ohio 45699
                             YOU ARE HEREBY COMMANDED to appear in the __c_o_m
                                                                             _m_ o n_ _ P_l _e_a_9_    _ _ Court of               c_o_u_n_t_~
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     on the _ _ _ _ _ _ day of _ _ _ _ _ _ __
                                               August                    89            9:00                    A
                                                                , 19 _ _ at _ _ _ _ _ _ _ _ o'clock _ _ M (CourtroiQm It _ __

                                                               Defendant
     to attend ar~d give testimony on behalf of - - - - - - -- - - -- - - - - - in the above entitled case umder penalty of law.

     And, to bring with you




   July 2,6th
     - - - - - - -- -- -- - --                              · 19_8_9_                             -{


   John A. Garretson Attorney                                                            Edward S. Robb Jr.
                                                                              Clerk of Couns
     Attorney for _ _ __D_e_f_e_n_d_n_n_t_ _ __ _ _ __
                                                                                         c.
   616 Dayton Street,              Hamilton Ohio 45011                        by
                                                                              Deputy Clerk


     Attorney Address and Phone



     RETURN ON SERVICE

     On the _ _ _ _ _ _ day of _ __ __ _ _ , 19 _ _ , I served the
                                                                                               Service fees:
                                                                                               1 day's fee tendered         $ _ __ _ _
     above namedl lndividual by ~~---------------

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                                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                                      CASE NO. 2:16-cv-00495
                                                                                                       APPENDIX - Page 1130
 Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 59 of 105 PAGEID #: 1165

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                                                                                                 BAll   BROTIIf.RS, PuBLISHERS, SPRINCf1EU>, OHIO   ~··

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   GrHn -Return
   Canary · Altorney                                     (Court)

                       State of Ohio                                                         Case No. _ _C
                                                                                                         _R_8_3_ 12_ 06 14

                                  vs

                       Von Clark Davis
                                                                                                               SUBPOENA
                                                                                                               CIVIUCRIMINAL                  G CR
                                                                                                 ,             DUCESTECUM                     0
            Sgt. Gordy Pullman, Unit Counselor, Death Row,                                            GRANDJURY                               0
   To:      Southern Ohio Correctional Facility, P.O. Box 45699,                             Lucaaville, Ohio 456919
                                                                              Common Pleas                                       Bu~o:ler      County
                          YOU ARE HEREBY COMMANDED to appear in the - - - - - - - - - - Court of

   on the _ _4_th_ _ _ day of _ _ _A_u-=g=-u_s_t___ , 19 _ 8_9 at ____9_:_o_o___ o'clock _ A_ M(Courtroom II _ __

   to atte~d and give testimony on behalf of _ _ _ _ _ _D_e_f_e_
                                                               n_d_a._n_t_ _ _ _ _ _ in the above entitled case under penalty of law.

   And, to bring wtth you




  Ju_l_y_2_6t_h______________ ___ , 19_8_9_                                                                                  ?

  John A. Garretaon Attorney
                                                                                            E~ward                     .
                                                                                                           S. Robb · """
                                                                                                                     Jk.
                                                                             Clerk of Courts..
   Attorney for ____De=f::.;e~n""'d"--'a=n"--"t'---------=---

  616 Dayton Street, Hamilton Ohio 45011                                     by
                                                                             Deputy Clerk


   Attorney Address and Phone



   RETURN O N SERVICE

   On the _ _ _ __ _ day of _ _ __ _ __ , 19 _                 _ , I served the
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                                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                                          CASE NO. 2:16-cv-00495
                                                                                                           APPENDIX - Page 1131
       Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 60 of 105 PAGEID #: 1166


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             Green - Return                        ----------------~--.:__-
             Canal)l -Attorne-y                                                    (Court)

                                  State of Ohio                                                                      Case No. _ _c_R_8_3_ 12_ C,614

                                                      vs                                                                                      I


                                  Von Clark Davis
                                                                                                                                   SUBPOEINA
                                                                                                                                   CIVIUCRI MIN.tl1L             C3 CR
                                                                                                                                   DUCES TECUM                   0
                       Herb Wendler, Social Worker, Death Row,                                                                     GRAND JURY                    0
             To:       Southern Ohio Correction&! Facility, P. 0. Box 45699, Lucasville, Ohio 456199
                                           YOU ARE HEREBY COMMANDED to appear in the _ _ C
                                                                                         _o_m
                                                                                            _ m_o_n_ P_l_c_a _s _ _ court of                       But: 1 e r     Coun t,Y

             on the _ _4_t _h _ _ _ day of _ _ _A_u-=g=-u_s_t ___ , 19 ~ at ____9_:_
                                                                                   o_o___ o'clock~ M(Courtrc1om # _ __
                            · testimony on behalf of - - - - - -Defendant
             to attend end g1ve                                 -- - - - - -- - --                                       in the above entitled case under penalty ol lew.
                                                                                              \
             And, to bring with you




            July 26th                                                                 ~9
             - - - - - - -- - - - - - - - - ' 19~
                                                                                                                 Edward S. Robb Jr .
            John A. Garretson Attorney
                                                                                                   Clerk of Courts
             Attorney for _ _ _                _..;:_D.::.
                                                      e.::.fe=n:.:.dc=a=n-=-=t=----- - -- -
                                                                                                                    C. Carpenter
            616 Dayton Scre~t , Hamilton Ohio 45011                                                by
                                                                                                   Deputy Clerk ·


             Attorney Address and Phone

                   I
             RETURN ON SERVICE

             On the -----~day of _ _ __ _ __ , 19 _ _ , I served the
                                                                                                                     Service fees:
             above named individual by_.:...__ ___:__ _ __ _ _ __ _ _ _ __                                           1 day's fee tendered                $ _ _ __
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                                                                                                                             CASE NO. 2:16-cv-00495
                                                                                                                              APPENDIX - Page 1132
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 61 of 105 PAGEID #: 1167




                                                        ~                        4 . Article Numbef.             t.
                                                                                                      u ~:JJ. 1- l
                           Herb Wendler , Scx::ial Wor ker , Death Ra.1
                           Southem Chio Correctional Facility
                           P.O. Box 45699
                           Lucasville, Cllio 45699
                           CRB3 12 0614 Subpoena
                           Signature - Address



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                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                             CASE NO. 2:16-cv-00495
                                                                                              APPENDIX - Page 1133
    Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 62 of 105 PAGEID #: 1168

                                                   ...
                                                              IN THE COURT OF COMMON PLEAS
                                                                         BUTLER t w1Y, OH IO
                                                                         '89 AUG 1 Rf'llllS
                             SfATE OF OHI O,
                                                                           CLERt\ 01:" COURTS
                                                   Plaintiff,             EDWARD S. ROBB. J FCAS E NO. CR8 3-1 2-· 0614
                             -vs-                           r:-......,. ,.,... c~-~   r ...., ' 10
                                                                                       #"


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                             VON CLARK DAY I S,                  BlJTI..En r;_,J.,n r h                                     ENTRY AS TO MOTUO NS
                                                                      f\ Ur, 1 1969                                         HEARD JULY 3 1, ~ 989
                                                   Defendant.              f">t:5 -A
                                                             EDW ARD S. R0:-~ UJ
                                                                                             : r.' tQ~                 -

                                            This 31st day of July , 1989, this cause came on to be heard before

                             a   three   judge           panel    consisting                of           Judges Henry              J.     Bruewer,   WII I iam R.

                             St Its Inger,        and John        R. Moser. on the remand of the OhIo Supreme Court,
                             r eported as         S~a~e    v . Dav i s (1988), 38 Ohio S~. 3d 361, and upon the several

                             motions of the defendant by and through his counsel, Michael D. Shanks an d

                             John A.     Garretson,          and upon the motion of                                        the prosecution to            stri ke the

                             defendant' s withdrawa l of Jur y waiver; and the Court havi ng due cc1nslderat l on

                             to t he mot i ons and memoranda of counsel                                                In support of and In opposition t o

                             sa i d motions , hereby makes disposition of said motions , as follows.:

                                            It     Is ORDERED ~hat the defendant 's motion t o r enew pretr i al motions

                             previous I y        f II ed here I n     Is her eby                  OVERRlt.ED,                a I I prevIous ru I i ngs on said

                             motions remaining in ful I for ce and e ffect .

                                            It      Is    FURTiiER ORDERED                   that                  the      defendant's     motion       to   permit

                             defendant t o pr esent addi t ional                      evidence at                          the sentencing      ph asE~    Is her eby

                             OVERRULED.
                                            It      Is    FURTiiER ORDERED                  that                t he       defendant's motion        for      further

                             psycho logical          eva luation s         and         appo i ntment                        of   social     worker       Is   her eby
         OFFICE a.
 I'ROSECUTING ATTORNEY
   B UTLER COUN TY. O HIO    OVERRULED.
    JOHN F . HOLCOM B
 PRO SECUTING A TTORNEY




2 16 SOCIHY BANK BUILD ING
       P 0 . BO X 5 15
  HAMIL TON, OHI0 ~ $012



   IYI
                                                                                                                             VON CLARK DAVIS v. WARDEN
                                                                                                                                  CASE NO. 2:16-cv-00495
                                                                                                                                   APPENDIX - Page 1134
      Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 63 of 105 PAGEID #: 1169




                                                             ruG1 1989           - 2 -
                                                       EDWARD S. ROBB, J.R.
                                                                         CL£RK

                                                It   I s FURTHER ORDERED t hat the def enda nt's motion t o wi t hdraw his

                                   jur y waIver Is her eby OVERRULED.

                                                It   Is FURniER ORDERED t hat       the Pr osec ut i ng    Attor ney ' ~;   mot i on t o

                                   str i ke t he def endant ' s wi thdrawa l o f j ury wa iver Is her eby SOSTAI.fED, and the

                                   def endant' s wl t hr dawa l of ju r y wa iv er sha l I be st r lken.

                                                It Is FURTHER ORDERED t hat t he defendant' s moti on r equ1est lng this

                                   Court to sentence him to I l f e         Imprisonment o n grounds of eq ual              protection

                                   clause, th e doub l e jeopardy c l ause, and t he ex pos t fac t o clause ,               i s hereby

                                   OVERRULED.

                                                It   Is FURTHER ORDERED t hat t he defendant' s mot ion t o pr ohib i t thi s

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                                   I s her eby OVERRULED.

                                                                                     E N T E R




                                                                                         «ZfSr ~R. J:      (]



                                   APPROVED AS TO FORM:
                                   JOHN F. HOI..CO~
                                   PROSECUTING ATTORNEY
                                   BUTLER COUNlY, OH I 0

          OFF !C.~ OF
 PROSECUTIN G ATT O RNEY
  BU T L £R COUNTY . O HIO

    JOH N F". HOLC OMB
 PROSECU T I N G A TTO RNEY




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                                                                                               VON CLARK DAVIS v. WARDEN
                                                                                                    CASE NO. 2:16-cv-00495
                                                                                                     APPENDIX - Page 1135
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                                                              .-
                               STATE OF OHIO                                                       CASE NO. CR83-12-0614
                                                  Platntlff                                        STATE OF OHIO
                                                                          FIL£0                    COUNTY OF BUTLER
                               vs.                                                      :          COURT OF COMMON PlEAS
                               VON ClARK OAV IS         •s9 f\UG~~r~~~~~.;~~
                                                  Defenda,ntCLE R!\ OF ~~T ~!£1&9 JUDGMENT OF CONY I C:T ION ENTRY

                                                           : ED~t\~~ff.J.· ·re~:
                                            This 4th day of Au g ust, 1989, came th e Prosecutlrug Att orney
                               Int o    Cour t      and    the          defendant       personal l y app e aring an<j wi th                   hi s
                               counsel,           Micha e l        0.     Sh a nks    and        Joh n      A.     Ga rr et s on ,     and    the
                               Ind i ctment , trial,               and the Three-Judge Pane l ' s Findings of Gui lty
                               as t o t he ch arges co nt a i ned In the Indi c tment, to wit: Aggrava te d

                               Murder,       ~lth     Speclfka1Jo,n I to Count One, and with Spoclflcatlon

                               II      to    Count        One,           contrary        to      Oh i o      Revised        Co de      Se c t i ons
                               2903.01CB),          2929.04(A).(5) ,              and 29 29. 71,           as charged        In Count One;
                               and Ha vi ng Weapons Whfle Under DJsabJI Jt y contrary to Ohio Revised
                               Code Section 2923.13CA)(2), as cha rg ed In Count Tw o, al I being as

                               set forth I n t he previo us Ent r i es o f the Court whic h are expressly

                               included herein by reference, and the                                M~ndate         of the Oh i o Suprem e
                               Cour t whi c h remand s t he matter so l el y f or rehear i ng a s                                 ~o   se ntence
                               as t o Count On e.
                                                  Wherefo r e,           pursuant           to    Oh i o     Revised         Code       Sect i on

                               2929.03(0)(3),              th e         Three-J ud ge        Pan e l       conside re d         the    evidence

                               adduced by both parties and un a nimou sl y made Its FINDINGS, t o wit:
                               that     the aggravaTing' circ umstance which the de f endant wa s found
                               guilty of co mmitting outweighs the mit i gating f actor s prese nted by

                               pr oo f beyond a rea sonable doub t.
        OFf iCE OF
 PROS~CU T I N G ATTO RNEY
  BUTL FR COUN TY. OHIO                           Coming      now        to the      Imposition of               s enten c e,    pursuant to
     JOHN F. HOI,.CQt-18
 P" OSECUTING ATTORN E.Y       Crimina l Rule 3 2(A)(1) ,                     the Court afforded c ounse l an opp o rtun i ty

                               to make        a     statement            on    behalf       of   the       defendant,       and       th e Court
216 SOCI ETY BANK BUI LOl NG
         P.O. BOX 515
   HAM I~ TON. OH I04SOIZ




                                                                                                         VON CLARK DAVIS v. WARDEN
                                                                                                              CASE NO. 2:16-cv-00495
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                                                                                                                                          State v. Davis
                                                                                                                             Case No. CR83- 12-0614
                                                                                                                      Judgment of Conviction Entry



                             i: lddressed the defendant personal I y and asked                                               If he wIshed to make

                             a     s t atement          in     his     own         behalf        or       pre se nt          anything       fu rther         In

                             m I t I gat i on      of        pun I s h men t,            a nd    not h I n g       be I n g     show n      as     to      wh y

                             sen tence should not now be pro nounced ,

                                                It      Is     hereby             OROEREO         that          the        defen dant,       Von        Clark

                             Davis ,      be se nt e nc ed to death by electrocution as provided by                                                       law ,

                             pursuant         to      Oh i o     Rev ised              Code     Sections          2949.21            et   seq. ,    as      to

                             Count     One of th e Indictment, by causing a curre nt of electricity,
                             of    suf f lc I ent           IntensIty             to     cause       the    death ,          to pa ss      through         the

                             t>ody     of     the       defenda,nt,               t he     applica tion               of     s uch    cur r·ent     to      be

                             co ntinued           unti l        said         defendan t              Is    dead.              The    Warden        of      the

                             Southern         Ohio          Correctional                fa,cll lty         at    Lucasvll le ,            Ohio,    or ,      In

                             his     at>sence ,         a     deputy          ward e n,         shal        be        t he    execu tIone r .            Said

                             death sen t ence Is to be executed on the 4t h day of December ,                                                           1989 ,

                             wit hin        the      walls       of     the        Sou t he rn        Ohio        Corr ec tiona l          F aci lity       at

                             L u casvil l e,         Oh io ,         and          wlt'hln       an        enclosure            pr epared      for        such

                             purpose        und er       the       directio n            of     the Wa rden ,              which     encl osure shal I

                             exc I u de     pub I I c        vIew .          It    is fURTHER ORDERED that th e Clerk shall

                             Issue a Writ               for     the execution of                     the        death        penalty ,     dire c ted       to

                             the Sheriff of Butler                      County ,           who Is         FURTHE~          ORDERED to convey the

                             said defendant ,                with in thirty days and                            In a private manner ,               to t he

                             Sou t her n      Ohio          Correctional                 Fa,cll lty         at    Lucasvll le ,            Ohlo,     where

                             said     defendant shall                  be rec eived by the Warden and kept until                                           the
        orncEoF
 PROSECUTING A TTOR NEY
  IIUTLER COUNTY, 0 ... 10   day     des Ignated             for      hI s    execu t ion .                It    1s     FURTHER ORDERED a s                 to
    JOHN F HOLCOMB
 PROSECUTING A TTORNEY       Count One that the defendant shal I pay the costs of prosecution.

Zl6 SOCIETY BANK BUILDING
       P 0 . BOX 5 1~
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                                                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                                                      CASE NO. 2:16-cv-00495
                                                                                                                       APPENDIX - Page 1140
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                                                                       - 3 -                            S1tate v. Dav Is
                                                                                                 Case No, CR83-12-0614
                                                                                          Judgment of Conviction Entry



                                               Inasmuch     as   Section   2929.71   of    the Ohio     Revised Code

                                  does not   pro~ ide    f or a s entence to be Imposed on Specification I I
                                  to Count One whelie the sentence of death has been                   Imposed as to

                                  Count One. the Court passes no sen tence as to Specff !cation If to

                                  Count One.

                                               Defen dant    was    notified   of    his     right    to   appeal    as

                                  required by Criminal Rule 32(A)(2J.


                                                                            E NT E R
                                  APPROVED AS T O FORM:

                                  JOHN F. HOlCOM3
                                  PROSEaJTING ATTORNEY
                                  BUTLER COUNTY, OHIO




       OfFICE Of
 PROSECUTING ATTORI'IE'!'
  BUTLER COUNTY. OHIO

    JOflN ; . HOl-COMB
 PROSECUTING ATTORNEY




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                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                          CASE NO. 2:16-cv-00495
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                                       ~~   THE COURT OF COMMON PLEAS

                                             BUTLER CO~rr\~D OHIO

            STATE OF OHIO ,                     •89 AUG ]J) ArJ 9 20
                           P l a intiff,           ClERK !JF COI.i. t<!isE NO .   CR83- 12-06 1~1
                                                  ED WARD S. ROt.: El. !ft.
            -vs=                                           :
                                                                              OP!NION
            VON CLARK DAVI S ,                             :

                           Defe ndant .
                                             FU.m In Common Pitas Court
                                               BU~E~ cpU£-lTr • '!Hlp
                                                    AUG101989
            BRUEWER, J .                     EDWARDS. ROBB, J&
                                                         CLERII

                   This 4th day of August , 1 989 , this cause came on to be heard

            before a three judge panel consisting of Judge Henry J . Bruewer ,

            William R. Stitsinger , and Joh n R . Moser , on the remand of the Ohio

       ,A Supreme Court , reported as State v . Davis (1988) , 38 Ohio St. 3d
      j"o '
 f        ·\ 361 , 373 ~for a resentencing hearing sole ly for the purpose of
'\      ~
        ( determining whether the remaining aggravating circun'tstance outwe i ghs
 \j
L· ~
      ·x· the   m~ t i gating factors presented by             (Defendan t ), beyond a reasonab le

 ~~ d~ubt. "            The Court having unanimously found that the aggrava tinc:r

/j          c1.rcumstance , of which the defendan t was found guilty, outweighs the

~           mitigating factors presented beyond a reasonab le doubt, this opinion

            is made pursuan t to Section 2929 . 03             (F) , Ohio Revised Code

                   The aggravati ng circums tance in this case is t h at , prior to the

            aggravated murder at bar, the Defendant had been convicted of the

            offense of Second Degree Murder , an essential element of which v;as

            the purpose ful kill i ng of another, to- wit , the prior purposeful

            killing of his wife Ernestine Davi s in 1970.

                   We find the fo llowi ng to be mitigating factors :

                   l)   The Defendant adjusted well to prison routine and during his

            stay in prison , obt ained a h i gh , school GED and an associate


                                                    JOO· 4P3BS

                                                                              VON CLARK DAVIS v. WARDEN
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                                             -2-


      degree in Business Administration, and studied for and worked as

      a dental technician.

            2)   There has always been a good family relationship between

      the De f endant and all members of his family , including his

      stepfather.
                                FIWJ In Common ('jeaa Court
            3)   Since his relea ~b!TIJN cpAY!b~e ?HI?e has maintaned at l east

      partial employment.
                                      AUG! 01989
                               EDWARD S. ROBS, .I.R·
            4)   As testified by the psychol~~~t , Defendant has a com-

      pulsory personality disorder or explosive disorder which may h ave

      contributed to the violence i n this case.

            All of thes e mitigati ng factors are considere d to be under

      Sec tion 2929.04 (B)    (7) , Ohio Revised Code .

            We find that this aggravating circumstance outweighs the

      mitigating factors found by the panel by proof beyond a reasonable

      doubt, because the factors we find in mitigation are of slight

      weight.    The Defendan t ' s positive prison record, good family

      relationship , study and accomplishments in prison and employment

      while on parole we re overwhelmingly counterbalanced and outweighed

      by the aggravating circumstance of his prior conviction for p·ur-

      poseful kil l ing, demonstrating rather con vincingly that a prior

      life sentence was no deterrent at al l for this Defendant.

            Defendant ' s e xplosive pe rsonality disorder, which we found

      may have contributed to the violence in the case at bar , may explain

      it but in no way excuses it, and is not of such a nature as would

      have any great mitigating effect.            Nothing in the case indicates

      any verbal or physical confrontation with the victim prior to the
                                       1·
      killing wh i ch would either provoke Defendant or arouse in him a

      " heat of passion . h   Defendant' s    per~onal i ty   disorder perhaps explains




                                                               VON CLARK DAVIS v. WARDEN
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                                            -3-
                                                                         IMN~D

      how ht:> could commit unprovoked homicidal vio l ence in the case. at

      bar; however, this disorder did not affect the substantial capacity

     of the Defendant to appreciate the criminality of the crime hE:

      engaged in with prior calculation and design , or his substantial

      capacity to refrain from committing the offense , and indeed        i~:;

                                         ~-~~~
      such as would be had of numerouSUi l!'!     Plaas Court the death sentence
                                              . rirr:'~
                                         SUi\. R      '
     would not be mi t igated.   In sum, we ~ll~qst}ry angry man who set

      out to kill his victim , having IWW~lis¥yR£l§t~myicted of a p r ior

      purpose f ul ki l ling of another and having found no deterrence from

      committing the present offense in t hat prior conviction .

           As we are requi red by Section 2929.04 (B), Ohio Revised Code ,

      to consider the natur e and circumst ances of the offense , the history,

      character and background of the offender, and all of the factors in

     mitigation of the sentence of death presented h e rein , we find the

     aggravati ng circumstance , the Defendant ' s previous convi ction of

      the prior purposeful killing of h~s wife in 1970, outwe i ghs the

     mitigating circumstance s beyond a reasonable doubt .

           We, therefore, sentence the defendant to death by electrocutio n

      on December 4 , 1989.




      MOSER and STITSINGER, J J . concur.




                                                                            7


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                                                          VON CLARK DAVIS v. WARDEN
                                                               CASE NO. 2:16-cv-00495
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        srATE OF cmo                    ~ow-4Ro           ·CVRrs
              Appellee                                 s Auati       case No.Cr83-12-0614
               v.         fiLED In Common Pleas~~~ : . ·l R.
        \100 CLARK DAVIS
                          B\JTJ..ER COUNTY ' 0
                                                                     ALED in Court of Appeals
               Appellant         SEP 6 \989                              Bl m.FR C:H ll\lTY. OHIIO

                             EOWA~ 5 BOBB. ]R.
                                                                               s::' - s 1989
                                       ct.ERK
                                                                         EDWARDS. ROBB. jlR.
                                                NJI'ICE OF APPEAL                         CLERK



               Notice is hereby given that Von Clark Davis , defen::iant herein, ;appeals

        to the Court of Appeals of Butler County, Ohio, Twelfth A(::pellate District

        fran his cx:xwiction and sentence of death imposed by this oourt and errtered.

        August 7, 1989.
                                                             Respectfully Sutmitta::l.,
                                                             RANDALL M. DANA
                                                             Ohio Public Defender

                                                           -----p;l (Sc.:7Z-· -
                                                             DAVID C. SI'EBBINS
                                                             senior Assistant Public Defender
                                                             8 East IDnq Street
                                                             Col\llllbus, Ohio 43215
                                                             (614) 466-5394

                                             CERTIFICATE OF SERVICE

               I hereby certify that a copy of the foreqoin Notice of Appeal was served

        by regular u.s. Mail on John F. Holcanb, Prosecuting Attorney for Butler

        County, Qtrio, 216 Society Bank Builcli.rwJ P.O. Box 515, Hamilton, Ohio 45012
                )1t...,
        this   -f?i1       day of Septanber, 1989




                                                                            VON CLARK DAVIS v. WARDEN
                                                                                 CASE NO. 2:16-cv-00495
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VON CLARK DAVIS v. WARDEN




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                  Office of the Ohio Public Defender
                  8 East Long Street
                  Columbus, Ohio 43266-0587
                  (614) 466-5394
                  FAX NUMBER: (614) 644-9972

                  RANDALL M. DANA
                  State Public Defender




                                                September 5' 1989



        Frlward S. Robb, Jr.
        Clerk of COurts
        101 High Street
        Hamilton, Ohio 45011
                                                Re:   State v. Von Clark Davis

        Dear Mr. Robb:

              Enclosed please find the originals ard four copies each of ilia MJI'IOO
        RR AProiNIMENI' OF CXXJNSEL, OOI'I CE OF APPFAL, and IXXl<E."l' SHEET to Jbe filerl
        t:cday in the above- referenced case.     Please retum the extra tl.m:!-Starrped
        copies tone in the enclosErl p:>Stage--paid self-addressErl envelope.

              Your assistance in this natter is greatly appreciated.

                                                Very truly yours,

                                               ~C£--t!L--
                                                David C. Stebbins
                                                Senior Assistant Public DefenieJ:::

         OCS:bj
         Enclosures




                                                               VON CLARK DAVIS v. WARDEN
                                                                    CASE NO. 2:16-cv-00495
                                                                     APPENDIX - Page 1147
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 76 of 105 PAGEID #: 1182



                              DC ~KET STATEMENT FORMS

                            CRIMINAL DOCKET STATEMENT

                                                      APPEAL NUMBER - -- -
                                                      TRIAL COURT NO. CR 83-12-061 4
                                                      TRIAL JUDGE - - - -- -

                              CRIMINAL DOCKET STATEMENT
                                             FORM I

               STATE OF OHIO                          .JOHN F   Hm .rnMr:
                                                      PROSECUTING ATTORNEY
                                                      216 Society Bank Buildi n                     •
                                                      P. 0 . Box 515               •0·i 0      G;9
                                                                                               c.o
                                                      Hamilton Ohto 45012
                                        Plaintiff
                            vs.                                          vs.                            -,
                                                                                  en ~        en        .--
               VON CLARK DAVI S                       David C. Stebbins         ::"' a     m
                                                      S en~or
                                                          .   Ass ~st
                                                                  . ant Pub 1 i.e-
                                                                                C ,.o   ~
                                                                                    yefe~r
                                                                                           C::!
                                                                                            •
                                                      B East Long Street   ?' ;;u             ,_.
                                                      Columbus, on1o 43215 .::- (/)           ' •
                                                      (e14) 466 S394        ~                 C?
                                 Defendant                                   Cou~el
          Was counsel appointed for trial?             YES              NO
          Has counsel been appointed for appeal by
          trial court?                                 YES              NO
          Will request for appointment of counsel be
          made to this Court?                          YES              NO
          W as Stay of Execution granted by trial
          court?                                       YES              NO
          Offense convicted of: Aggravate d Hurde r with s p e cif j cat jon
          Length of Sentence:      Death
          Probable issues for r eview: ....:?_   _   _ _ _ _ __        _ _ _ _ _ _ _ __




          Will a transcript of proceedings be filed? YES NO
          Is the complete or only a partial transcript ordered? Compl ete
          Estimated length of transcript:
          Time needed to complete transcript:
          Time needed to file brief after transcript is f!..led:
           List all related/pending appeals:

           Identify any special problems anticipated with this appeal:                      This i s
              the first case where a person h a• 9eea sea~QAGiie to dea th a fte r a sec ond
              seotenci~s   aearisg


                                                      Counsel's Signature


                                                                            VON CLARK DAVIS v. WARDEN
                                                                                 CASE NO. 2:16-cv-00495
                                                                                  APPENDIX - Page 1148
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 77 of 105 PAGEID #: 1183




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                                     IN 'mE eot.nm'OfEaPPEAIB
                                    'lWELFIH JUDICIAL DIS'IRICT
                                        ~~,f1W'P_ _2
        STATE OF OHIO,                      Cl E• ·~ OF COUrHS
                Appellee,                  ED ''/ ' n1 <:
                                               ' h i\ : u



        -vs-                                                Case No.

        vt::N Cil\RK DAVIS ,

                Appellant.



                                KJI'Ic:tl FCR APPOINIMENT OF CCXJNSEL



                Now cc:rntes the Appellant , Von Clark Davis, and nnves this Cour1: for an

        order appointing the Cl1.io Public Defender camrl.ssion to represent tilill in his

        aweai- fran his sentence of death i.rofx:>se::l by the Court of Cartron PJleas for

        Butler County on August 7, 1989.       Appellant Davis is i.ndi.gent and has ~

        represented by a~inted counsel since the inception of these proceedings in

        1983.   This is an ar:peal as of right to this Court.          As such,           ~llamt. Davis

        is entitled to the appointirent of counsel to represent him in this appeal

        prrsuant to the Sixth Alrerrlrrent to the lJnited States Constitution and Section

        10, Article I of the Ohio Constitution.         See Evitts v. ~ (1985), 469 U.S.

        387.    'llle reasons in support of this notion are nore fully set out. in the

        attached affidavit.
                                                    Respectful!y S\lbni.tted,

                                                    RANDALL M. DANA
                                                    Ohio Public Deferxier



                                                  ~/_{(;11
                                                    DAVID C. STEBBINS
                                                    senior Assistant Public DefendeJ::




                                                                   VON CLARK DAVIS v. WARDEN
                                                                        CASE NO. 2:16-cv-00495
                                                                         APPENDIX - Page 1149
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 78 of 105 PAGEID #: 1184




                                                  Ohio Public Defender Carmission
                                                  8 East I..Dng Street
                                                  COlurnl:::us, Ohio 43215
                                                  (614) 466-5394

                                                  CXIUNSEL FOR APPEI..I.Am'




                                      CERTIFICATE OF SERVICE

               I hereby certify that a copy of the foregoing Wl'ICN Fm APR)INn.mm' OF

        CXXJNSEL was   served by re'JU!ar U.S.    Mail on Jolm F.      Holcanb, Prosecuting

        Atton1ey for Butler County, 216 Society Bank Building, P.O. Box 515, Hamilton,

        Ohio 45012, this    s-7 L day of SeptenDe.r, 1 989.

                                                  DAVID C. Sl'EBBINS
                                                  senior Assistant Public Defender

                                                  COUNSEL FOR APPEI.J:ANI'




                                                                 VON CLARK DAVIS v. WARDEN
                                                                      CASE NO. 2:16-cv-00495
                                                                       APPENDIX - Page 1150
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 79 of 105 PAGEID #: 1185




                                 AFFIDAVIT OF DhVID C. STEBBINS
        County of Franklin
                                SS:
        State of Ohio

               I David C. Stebbins, being first duly swam, do de{:ose and state that:

        l.     I am an attorney l icensed to practice law in the State of Ohio;

        2.     I am enployerl as Senior Assistant Public Defender in charge• of the

        Death Penalty Litigation Section of the Ohio Public Defenders Office;
        3.     This office presently represents 60 of the 96 persons under sentence of

        death in Ohio;

        4.     This office was oontacted by John A. Garretson in the arove captioned

        case arrl requested to take over representation of Von Clark Davis in his

        appeal frcm his sentence of dooth;

        5.     'l11.is office was s~tly contacted by Von Clark Da.vis and vequested

        to take over representation in his aQ>Eliil fran his sentence of death ;

        6.     This office has detennined Mr. Davis to be indigent pursuant to Ohio

        Revised Cede Section 120.05, based on the representations of prior OOILinSel of

        prior detenni..nations that Mr. Davis ...as indigent am the      fact that he has

        been continuously incarcerated since 1983;

        7.     This office is willing to accept appointment to provide representation

        to Von Clark Davis for purposes of appealli.n;J his sentence of death .imposed on

        August 7, 1989;

               FURTHER, affiant sayeth naUCJht. ~/(       Wk
                                                David c. Stetbins

               Sworn to and subscribed before ne this    r:) 1" day of september, 1989.


                                                N0tary Public

                                                                        ...
                                                                       . ,, _...   .-

                                                            !. .....



                                                                VON CLARK DAVIS v. WARDEN
                                                                     CASE NO. 2:16-cv-00495
                                                                      APPENDIX - Page 1151
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 80 of 105 PAGEID #: 1186

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  J;:vm OF"O- 1025 tRe-- 81S8)                                                 ·...t    h..a.u:n BaoTH£u . Pvau~Ho.n. Sr i.t."''CIF(&UJ, OH:so




                                 IN THE ._ _c_o_rrun
                                                  _ ._o_n_ P_l _e _a _s _ _ _ COURT
                                 COUNTY OF ___          Bu_ t_ l_e_r _ _ _ _ _ __
                                 CITY OF                Hamilton

                  S-:'ATE OF OHIO
                                             ·as SEP 13. Rl'l 9 07
                                                                     Case Number CR 83 12 0614
                                                                 '
              vs.                               CLERK OF COURTSJudges Bruewer , Moser , Stitsi ng r
                                                EDWARD S. ROB.B. JR.
                                                                                   FILED ht Cf.ltlh'T\t\l~ Pl~li\~ ~~g
                VON CLARK DAVIS                                  ,.
                                                                 i
              Defendant                                                                BUTLbR eouNTY' o

                                  MOTION FOR APPROVAL OF PAYMENT OF                               SfJ' \ ~ 11:G'j
                                  ASSIGNED COUNSEL FEES AND EXPENSES                               rl )'R.
                                                                                                0
                                                                                   EDWMill 5, ~ ~LEKK
              The undersigned having been previously appointed counsel for the defendant moves tr1is
              Court for an order approving payment of fees and expenses as indicated in the attached
              itemized statement, pursuant to sections 2941 .51 and 120.33 of the Revised Code.

              As the assigned anorney of record lor the defendant, I certify that I have received no com-
              pensation in connection with providing representation in this case other than that des-
              cribed in t•h is application. I, or an attorney under my supervision, have performed all leg;al
              services itemized in this application. The amounts requested for legal fees and expenseiS
              are not duplicated on any other application for fees bearing this or any other case
              number.

              As anorney of record, I was appointedl on - - - - - - - - - - · 198_. The ~~se

              terminated on _ _A_u~g'-u_s_t_7_ _ _ _ _ _ , 1981_. I am submitting this application on
                    August 1 4                  9
              - - - - - - - - · 198_ .




                                           Na                   GARRETS ON
                                                                Lega l Profes s1onal Assoc1at1on
                                           Address      616 _ Dayton Street.            P.o . Box 1166 .
                                                      sr,_



                                                       (513} 86 3-6 600 SSN
                                           Telephone - - - - - - - -




                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                        CASE NO. 2:16-cv-00495
                                                                                         APPENDIX - Page 1152
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 81 of 105 PAGEID #: 1187




                                                     APPLICATION                  ~




                            OF'FENSE DESCRIPTION, CLASSIFICATION AND DISPOSITION
                                        FOR EACH CHARGED OFFENSE                                               1M~,('~[.


           The charges were disposed of in the following manner.

                 1. 0 Jury trial                                         3. 0 Dismissed
                       0 Found guilty

                                                                                 Cf1ft'ff' In CJmrnon Ple:~s Courrt
                       0 Found not guilty                                4
                                                                             .
                       0 Hung jury                                                ECl ITD.!n{li"~t n J , (JlHO
                       0 Guilty of a lesser included offense                          0 To a lesser offense
                                                                                            SEP 13 E:J
                 2. ~ Bench trial  ( Post-trial resentencing hearings)
                       0 Found guilty
                                                              .EDWA!tD S. KOBS, JR.
                                                                                                       CLERK
                       0 Found not guilty


  D Misdemeanor 0 Felony 0 Aggravated Felony 0 Gun Specification ~ Death Penalty 0 Other
                OFFENSE                      O.R.C. OR       DEGREE OF                           OISPOSITlON
                                             CfTY COOE        OFFENSE
                                              SECTION                             '
  l.
                                                                                 Death pena lty
  2.

  3.


  4.

  5.

  &.




  SENTENCE:
                 death




  Have you or another attorney previously submitted a bill     0 Yes
  for partial payment tor this case or case number?            ~ No                         Amount paid $
  Was the client in this case ordered to repay the court       0 Yes
  for all or a portion of the cost of your services?           t5 No         Amount ordered to pay $
  How many motions were filed in this case?

                                                               2




                                                                                           VON CLARK DAVIS v. WARDEN
                                                                                                CASE NO. 2:16-cv-00495
                                                                                                 APPENDIX - Page 1153
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 82 of 105 PAGEID #: 1188




                                                    ITEMIZED FEE STATEMENT
                                   OUT OF COURT HOURS                                                                   IN COURT HOURS
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                                                                     BILL SUMMARY

   LEGAL FEES:    In-court hours
                                              2.5        l(   In-court rata S        .3.o ~        :    Total in-court S                                  7~r~-
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                  Out-of-court hours           22 . 5 )(      Out-of-court rale S .1-o             = Total out-of-court
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                                                                                                        Total '-9a1 .._ S                          ..5.1. :{' cJ-:<1
   EXPENSES:      Type of Expense                                                                                                      Amount
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                                 r'4 r1.1 u wt. -                                    ;_JUt (f'"l ~                                                  s.~..)
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                                                                                                       Total Expenses
                                                                                                                                                                     tt':i
                                                                                     Total legal fees and expenses                     s           l.£s- ,~
                 Attach Continuation R~uest fOt' Payment fOnrl If nec:euary. PLEASE STAPLE TO THIS SHEET.

                                                                                 3




                                                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                                                          CASE NO. 2:16-cv-00495
                                                                                                                           APPENDIX - Page 1154
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 83 of 105 PAGEID #: 1189

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                                                                                              IM.t':C~:c

                                      ENTRY
 r--------------------------------------------------------------------------- ---

         The Court finds that counsel performed the legal services set forth on the attached item-
         ized Statemen~ and that the fees and expenses set forth on this Statement are reason-
         a ble, and are in accordance with the resolution of the Board of County Commissioners of
                 Butler             County. Ohio. relating to payment of assigned counsel.


         IT IS THEREFORE ORDERED that C~J.Ulsel fees and expenses be, and are hereby
         approved, in the amount of 8 .)o · -         . It is further ordered that the said amount bE!,
         and hereby is, certified by the Court to the County Auditor for payment



                FILED !n Common Pleas Court
                 BUTLER CO'VNTY, OHIO




                    EDV\' AR.U S. ROOD, JR.       • JOHN A. GARRE'TSON
                                    CLt:HK           616 Dayton Street , P.            o. Box 1166
                                                     Hamilton Ohio 45012
                                                 CERTIFICATION




        The County Auditor in executing this certification attests to the accuracy of the figures
        contained herein. A subsequent audit by the Ohio Public Defender Commission and/or
        the Auditor of State which reveals unallowable or excessive costs may result in future
        adjustments against reimbursement or repayment of audit exceptions to the Ohio Public
        Defender Commission.


        County Number. - - - - - - - - - - - - - -

        Check Number:

        Check Date:




                                                        4

                                                        .J0P. I" . ~,    :...4

                                                                              VON CLARK DAVIS v. WARDEN
                                                                                   CASE NO. 2:16-cv-00495
                                                                                    APPENDIX - Page 1155
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 84 of 105 PAGEID #: 1190




                                                  IN THE _ _....::c~m:..:::.
                                                                      -n-.:..:;lo~
                                                                                 ~ ......:P...!:
                                                                                             L=       .:,s::..___ _ _ COURT
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                                                  coUNTY OF __;:;.B.;;.;
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                                                                              ;.;.__ _ _ _ _ _ __

                                                  CITY OF                      HAMILTO~

                                                         •ss SEP 13 AI'\ 9 0?
                   S..l'A.'I'.E Qf mnn                                                • .              Case.Number ~CR8 3 - l2-061 4
                                                                                     FILED In Cornman Pleas Couh
          VS.                                                   CLERK OF OOU!ij{~L.:..R CO\id~e1f;uGfUO Stit s inge r & Na ser
                                                                EDWARD S. ROBB. JR.
               Von Clark Davis
          Defendant                                                                               SEP 13 198'J
                                                                                         EDWARU S, aouD, JR.
                                                      MOTION FOR APPROVAL OF PAYM'@'NT OF
                                                      ASSIGNED COUNSEL FEES AND EXPENSES

         The unaersigned having been previously appointed counsel for the defendant moves this
         Cou.rt for an order approving payment of fees and expenses as indicated in the attached
         itemized statement, pursuant to sections 2941.51 and 120.33 of the Revised Code.

         As the assigned attorney of record for the defendant, I certify that I have received no com-
         pensation in connection with providing representation in this case other than that des-
         cribed in tnis ap~lication. I, or an attorney under my supervision, have performed all legal
         services itetnized in this application. The amounts requested for legal tees and expense:s
         are not duplicated on any other application for fees bearing this or any other case
         number.

         As attorney of record, I was appointed on - - - - - - - - - - - · 198_. The C8tse
                                      7
         terminated on _ A_u_g _u s_ t__'_ _ _ _ _ _ _ , 198~.1 arn submitting this application on

         __:::S:..::eL.p.:..te::.:m::.:b::..:e:..:.r_.:_7_ __    , 1 98..2..



                                                                     Respectfully s          mitted,     (   ;_:.   /
                                                                                          0 0~
                                                                     Signature




                                                                    Address 304 North Se cond Street

                                                                                  Hami l t o~ .   Ohio    450 1~




                                                                    Telephone
                                                                                     (513) 863- 2112
                                                                                    --------                        ~



                                                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                                                             CASE NO. 2:16-cv-00495
                                                                                                                              APPENDIX - Page 1156
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 85 of 105 PAGEID #: 1191




          -

                                                         APPLICATION
                              OFFENSE DESCRIPTION, CLASSIFICATION AND DISPOSITION
                                         FOR EACH CHARGED OFFENSE


              The charges were disposed of in the following manner.

                   1. 0 Jury trial                                         3. 0 Dismissed
                        0 Found guilty
                        0 Found not guilty                                 4. 0 Plea

                        0 Hung jury                                    C         ~~~Jglt\dktment
                                                          ~~tO \n omm011 "
                        0 Guilty of a lesser included offe t\• l l Lr..R co J "1 .0:T~t~~r offense

                   2. Kl Bench trial         Post- tdal resentenciSEP       1 ~ 1S~Cl
                        0 Found guilty
                                                                EDWAiU) S. ROB», JR.
                        0 Found not guilty                                   CLERK


   0 Misdemeanor 0 Felony 0 Aggravated Felony 0 Gun Specification ~ Death Penalty 0 Other

                  OFFENSE                         O.R.C. OR    DEGREE OF                     OISPOOTlON
                                                 CITYCOOE       OFFENSE
                                                  SECTlON
  1.
        Agg . Hurde r (wi t h specs .                               1      Death
  2.


  3.

  ...
  5.

  a.


  SENTENCE!            Death
                                       ;I>                      ~                        .



  Have you or anoltler anorney previously St.lbmitted a bill    0 Yes
  for partial payment tor this case or case number?             ~ No                    Amount paid S
  Was the client in this case ordered to repay the court        0 Yes
  for all or a portion of the cost of your services?            ~No         Amount ordered to pay $
  How many motions w$re filed in this CB$6?          Sh

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                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                             CASE NO. 2:16-cv-00495
                                                                                              APPENDIX - Page 1157
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 86 of 105 PAGEID #: 1192




                                                             ITEMIZED FEE STATEMENT
                                    OUT OF COURT HOURS                                                                                                     IN COURT HOURS
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                                                                                    IIUSUMMARY

    LEGAL FEES:    In-court hours
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    EXPENSES:      Type o1 Expense                                                                                                                                   Amount
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                                                                                                                                                                                                .:::;::<.)
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                  Attach Continuation At~qu-.tiDr Payment tonn If neceuary. PLEASE STAPlE TO THIS SHEET.
                                                                                                  3




                                                                                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                                                                                        CASE NO. 2:16-cv-00495
                                                                                                                                                         APPENDIX - Page 1158
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 87 of 105 PAGEID #: 1193



                                                                  CfZ-// -(2 -0 b                    If
                                                   ENTRY
                                                                                          IMAG~D

          The Court finds that counsel performed tne legal services set forth on the attached item-
          ized Statement and that the fees and expenses set forth on this Statement are reason -
          able, ~nd ~~(in accordance with the r~oluti~n of the Board of Co~nty Commissioner:s of
                :& t.L £ c          County, Ohto, relating to payment of ass1gned counsel.


          IT IS THEREFORE ORDERED that CO\:J[l}el fees and expenses be, and are hereby
          approved, in the amount of !?fl7 ~ . . It is further ordered that the said amount t~e,
          and hereby is, certified by the Court to the County Auditor for payment




              FILED In Commcw Pfe{l~ Cowt
               BU1' LER COUNTY, 01110

                       SEP 13 '13:!1
                  EDWARDS. ROBE, JR•
                                   . Ll'Rl'

                                               CERTlFICATION




         The County Auditor in executing this certification attes1s to the accuracy of the figures
         c()ntained herein. A su~uent audit by the Ohio Public Defender Commission and/or
         the Auditor of Slate which reveals unallowable or excessive c~ts may result in future
         adjustments against reimbursement or repayment of audit exceptions to the Ohio Public
         Defender Commission.


          County Number. - - - - - - - -

          Check Number.

          Check Date: ~~--...-~---




                                                                         VON CLARK DAVIS v. WARDEN
                                                                              CASE NO. 2:16-cv-00495
                                                                               APPENDIX - Page 1159
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 88 of 105 PAGEID #: 1194




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                                                                                                               VON CLARK DAVIS v. WARDEN
                                                                                                                    CASE NO. 2:16-cv-00495
                                                                                                                     APPENDIX - Page 1160
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 89 of 105 PAGEID #: 1195


            Cllc :~oo-0                                                                 BAUETT F         £JU. Pueunrus. SPltiN(;FlE:LP, (huo


    ADD COST
                                      Execution for Costs In Felony
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     To the Sheriff of said County: BUTLER

           You Are Hereby Commanded. That of tlte g·oods ancZ cha#els, and for want

     Uum~of, t/im of the lands and tenement.:; of. ... ~~~ --~~-~-~~--~~'!}.~..................................... .




     in your County. you. wuse to be ma.de .. ~.1.!'.~~~:.~-~.......~.1?!?.. !::~?.'1'.............................................

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     ortr ('mai of Common Pleas, at a term thrreof, cmnnwntin:J nn thn ..........?T~............da.IJ

     of. ......~~~y-~~.................................il. j ). 19..~.?.... uyllle jud~nent of said Court' N 3COfJ(Jf'tJd

     a.JJ:ninsf. the said.............................~~~..:-~-~-~~- .?.~.~-~-~   ...................................................................


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     the first day of the term aforesaid; also that yml, cc.~Jus6 to be made the costs of e.,·e('u·

     lion and inerease costs that rnay aecrue.

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                                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                                         CASE NO. 2:16-cv-00495
                                                                                                          APPENDIX - Page 1161
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 90 of 105 PAGEID #: 1196




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                                                                                                                                                     CASE NO. 2:16-cv-00495
                                                                                                                                                      APPENDIX - Page 1162
 Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 91 of 105 PAGEID #: 1197


                                                                             IMM~D              , /
          CASE NO .   CR83-12-0614                                              CA89·- 09 - 0123

          TITLE OF CASE                            ATTORNEYS                    ACTION


          THE STATE OF OHIO     ''"'"  ,.._-                   Holcomb          Butl«~ r County
                                  l, J .., .)
                                           j                                    s . s., Court of
               vs.                                                              Common Pleas:
                                                                                Indictment for:
          VON CLARK DAVIS          l_ ~:: .:: .: ., J ohn .Garretson            Aggravated
                                                    Mike Shanks                 MurdE~r
                                                                               and Having
                                                                               Weapons under
                                                                               Di sability

          PLEADINGS FILED, WRITS ISSUED, WRITS RETURNED AND COPIES OF RETURNED

          Transcript filed from Docket of Hamilton Municipal Court
                                          (83-CRA- 3565 & 83-CR-A3539)
          Charge                          Aggrava ted Murder & Having Weapons
                                          while under disability
          Committed
          Bond
          Municinal Court Fees
                                          No Bond                fiLED inCourt of jlppeals
          Justice's Fee s                 SJ 7 · 0 0   BUTI..ER COUNTY. OHIO
          Constables ' s Fees             $6.30
          Witness Fees                                       GCT 3- 1989

          1984 Jan 06   On the 6th day of Jan. 1984 I             se~~~~Dc§r~Q~~J~~opy
                      A of the Summons in above entitled case upon gf:~K.
90 2 52
                      ~ defendant, by delivering Him Said Copy
     ..                                              R. R. Walton, Sheriff
                          ·                          R. Smith,     Deputy
                        On the 22nd day of May 1984 I served a certified copy
                        of Order / Exam in above entitled case upon the
                        Butler County Forensic Center
                                              By Delivering to Him Said Copy
                                                            Sheriff
                                              R. Smith      Deputy


                               FINDINGS,        JUDG~ffiNTS,   ORDERS AND DECREES

          1.   1983   Dec 22   Transcript, filed
          2.   1983   Dec 22   J 373 P430 Entry regarding bond , filed
          3.   1984   Jan 06   Prosecutor's request for summons , f iled Surmnons,
                               Copy of Indictment issued
          4.   1984   Jan 06   Notice to Supreme Court of Ohio of filin g Agg.
                               Murder with Specification, filed
          5.   1984   Jan 06   Two copies of notice issued to Supreme Cour'
                               of Ohio by Certified Mail

                                                                            continue!d


                                                                    VON CLARK DAVIS v. WARDEN
                                                                         CASE NO. 2:16-cv-00495
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     CASE NO.       CR83-12-0614         -2-                      CA89-09-01 23

     NO .    DATE OF:         FINDINGS, JUDGMENTS, ORDERS AND DECREES


       6.   1 984    Jan 11    Return Receipt of: Supreme Court of Ohio
                               Signed: R. Ea ton Date : 1 - 10-84
       7.   1984     Jan 13    J374 P209 Defendant arraigned , Pleads not
                               guilty
       8.   1984    Jan 17     Motion to sever, f iled
       9.   1984    Jan 17    Mot i on for Bill of Par ticul ars , filed
     10.    1984    Jan 1 7    Motion for change of Venue, filed
     11.    1984    Jan 17     Motion to view the scene, filed
     12.    1984    Jan 17     Motion to dismiss and inspect Grand Jury
                               Transcri pt, filed
     13.    1984     Jan 20   Memorandum i n opposition to motion t o sever
                               coun ts, fi led
     14.    1984    J an 20   Memorandum in. oppos i tion to motion t o di.smiss
                               and inspect transcript, filed
     15.    1984    Jan 20    Memorandum in opposition to motion fo r change
                               of venue, filed
     16.    1984    Jan 26    J 374 P761 Entry scheduling p re- trial hearin g
                               and continuing tr ial date for pre-trial
                              motions 2- 15-84m fi l ed, Bruewer, J .
     17.    1984    J an 26   Memorandum in s upport of motion to sever,. filed
     18.    1984    Jan 26    Memoran dum in support of motion for change of
                              venue, filed
     19.    1984    Feb 01    Praecipe for witness, fi led
     20 .   1984    Feb 01    Subpoena iss ued
     21.    1984    Feb 01    Praecipe for witness, filed
     22 .   1 984   Feb 01    Sub poen a issued
     23.    1984    Feb 01    Praecipe for witness, filed
     24.    1984    Feb 01    Subpoena issued
     25.    1984    Feb 01    Motion and memorandum for discovery , filed
     26 .   1984    Feb 01    Motion a nd memorandum to Bifurcate trial-
                              Motion in Limine, f iled.
     27.    1984    Feb 01    Motion to prohib i t Death Qualification of the
                              Jury and memorandum, filed
     28.    1984    Feb 02    Praecipe for witness, filed
     29.    1984    Feb 02    Subpoena i ssued
     30     1984    Feb 03    Memorandum i n opposition to motion limine
                              RE: Death Qualification of Jurors , fi l ed
     31.    1984    Feb 'o8   State's answer to Defendan t' s r equest for
                              discovery , f iled
     32.    1984    Feb 08    Motion to provide discovery,filed
     33.    1984    Feb 08    J375 P250 Order to provide discovery, filed,
                              Bruewer , J.
     34.    1984    Feb 09    Bill of Particulars, filed
     35.    1984    Feb 13    Return Receipt of: Dick Perry , Cincinnati
                              Pos t Signed: Glenn Blade Date : 2-7-84
                                                             continued




                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
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      CASE NO.       CR83-12-0614         -3-                     CA89-09-01 2 3

      NO.     DATE OF:         FINDINGS, JUDGMENTS , ORDERS AND DECREES


      36.    1984     Feb 13   Return Receipt of: Kar l a Stanley, WCPL
                               Signed: G.R. Thomas Date:2-8- 84
      37.    1984    Feb 1 4   Motion to Appoint counsel, filed
      38 .   19tl4   Feb 14    Affidavit of Von Clark Davis, filed
      39.    19tl4   Feb 14    J375 P435 Entry appointing M. Shanks as
                               attorney, Bruewer, J.
      40 .   1984     Feb 14   J375 P435 Entry appointing John Garretson
                               as attorney , Bruewer, J.
      41.    1984    Feb 15    J375 P468 Certificate of witness fee for
                               transporta t ion, Moser, J .
      42.    1984    Feb 24    J375 P808 Entry setting trial date of 5-9-84
                               Defendant having waived rights to speedy
                               tr i al, and vacating 2-23-84 trial date,
                               Bruewer, J.
      43.    1984    Feb 24    J375 P810 Entry ordering special venire
                               pursuant O.R.C. 2945. 18; 75 jurors 8-7-84 and
                               order for Sheri ff's returns, Bruewer, J.
      44.    1984    Feb 24    J375 P809 Entry ordering additional special
                               venire pursuant O.R.C. 2945.19; 50 jurors,
                               filed, Bruewer, J.
      45 .   1984    Mar 05    Return copy of not i ce to Supreme Court(CC84-4)
      46 .   1984    Mar 22    Return of venire, filed
      47     1984    Apr 20    J378 P223 Entry ordering additional special
                               venire, Bruewer, J.
      48.    1984    Apr 20    Supplemental discovery, f i led
      49.    1984    Apr 23    Praecipe for witness f iled
      50     1984    Apr 23    Subpoena issued
      51     1984    Apr ~5    Defendant 's response to plaintiff's request
                               for discovery, filed
      52.    1984    Apr 26    Praecipe for witness files
      53 .   1984    Apr 26    Subpoena issued
      54.    1984    Apr 26    Amended response to plaintiff ' s request for
                               discovery, filed
      55.    1984    Apr 27    Supplemental discovery, filed
      56.    1984    Apr 27    Praecipe for witness, filed
      57.    1984    Apr 27    Subpoena issued
      58.    1984    Apr 27    Election of defendant pursuant Section
                         I
                               2929.022 O.R.C. Concerning the specification
                               of Aggravating circumstances, and to have
                               motion in limine to preclude prosection's
                               introduction of evidence or comment of
                               defendant's prior conviction and to sever
                               counts of indictment, filed
      59.    1984    Apr 27    Motion to have reasons for defense objections
                               placed on r ecord , filed
      60.    1984    Apr 27    Motion for notice of prospective three judge
                               panel, filed
      61.    1984    Apr 27    Motion for ruling on number of premetory
                               challenges , filed
                                                                  continued



                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
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     CASE NO.        CR83-12-06 14        -4 -                     CA89-=-09-0123

     NO.      DATE OF:         FINDINGS, JUDGMENTS, ORDERS AND DECREES

      62.    1984     Apr 27    Motion to record all proceedinRS, filed
      63.    1984     Apr 27    Mo tion for pre-trial hearing, filed
      64.    1984     Apr 27    Motion to increase the burden of proof to
                                beyond all doubt , filed
      65.    1984     Apr 27    Motion for pretrial disclosure of prosecuting
                                witnesses written or recorded st atements , filed
      66.    1984     Apr 27    Motion to compel prosecutor to disclose death
                                penalty data filed
      67 .   1984     Apr 27   Motion to compel disclosure o f prosecuting
                                attorney 's jury selection data
     68.     1984     Apr 27   Motion to require prosecutor to state reason
                                for exercising premetory challenges, filed
     69 .    1984    Apr 27    Motion for leave to file addit i onal moti<:ms
                                and for leave to supplement the memoranda in
                                support of motions already filed
     70.     1984    Apr 27    Motion for a ll mot i ons to heard on the record ,
                                filed
     71 .    1984    Apr 27    Motion for sequestration of jurors for duration
                               of trial, filed
     72.     1984    Apr 27    Further motion to prohibit death qualification
                               of jury in the alternative to seal se parate
                               juries during the guilt and penalty phases of
                               trial and supplemental memorandum thereon, filed
     73.     1984    Apr 27    Further memorandum in support of disclosure of
                               Grand Jury testimony, filed
     74 .    198 4   Apr 27    Motion for individual sequestered voir dire ,
                               filed
     75 .    1984    Apr 27    Motion to insulate the venire and jury, filed
     76.     1984    Apr 27    Motion to dismiss, filed
     77 .    1984    Apr 30    Praecipe for witness, filed
     78.     1984    Apr 30    Subpoena issued
     79 .    1984    Apr 30    Motion in limine, filed
     80.     1984    Apr 30    Motion for expert services, Dr. Roger Fisher,
                               filed
     81.     1984    Apr 30    J378 P580 Order for exam and Pmt. pursuant
                               Chapter 120, Bruewer, J.
     82.     1984    Apr 30    Motion and memorandum for order releasing
                               records, filed
     83.     1984    May 01    State's memorandum in resoonse to motions of
                               defendant, fi led on April. 27, 1984, filed
     84.     1984    May 03    Motion for appointment of Psychologist or
                               Psychiatrist from Butler County Forensic
                               center and to remove Dr . Roger Fisher from
                               participation in case , filed
     85.     1984    May 03    Mo tion to strike entry filed ex parte 4-30-84,
                               f or appointment of Roger H. Fisher and for
                               clarification of his employment capacity by
                               defendant, field
                                                                   continued




                                                          VON CLARK DAVIS v. WARDEN
                                                               CASE NO. 2:16-cv-00495
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      CASE NO.      CR83-12-0614          -5-                      CA89-09-0123

      NO.     DATE OF:         FINDINGS, JUDGMENTS, ORDERS AND DECREES

      86.    1984   May 04      Praecipe for witness, filed
      87.    1984   May 04      Subpoena issued
      88.    1984   May 04      J378 P794 Entry of rulings on defendant
                                motions, filed, Bruewer, J.
      89 .   1984   Hay 04      J378 P793 Waiver and election of judge deter-
                                mination of aggravated specification, filed,
                                Bruewer, J .
      90.    1984   May 08      J378 P909 Jury waiver and e lection of three
                                judge panel, filed, Bruewer, J.
      91.    1984   Hay 08      Praecipe for witness, filed
      92 .   1984   May 08      Subpoena issued
      93.    1984   May 09      J379 P0007 Motion and entry appointing
                                Vernon Lyons as process server, Moser, J.
      94.    1984   May 09      J370 P0009 Entry designating three judge
                                panel, Black, J.
      95.    1984   May 09      Praecipe for witness filed
      96.    1984   May 09      Subpoena issued
      97.    1984   May 10      J379 P0060 Motion and entry appointing
                                Vernon Lyons , filed, Bruewer, J.
      98.    1984   May 10     J379 P0062 Clerk's transcript fee for indigent
                                defendant, fil ed, issued
      99.    1984   May 10     J379 P0088 Certificate transportation cost,
                               Bruewer , J.
      100. 1984     May 14     Return Receipt of: Mr. Steven Dix Signed:
                               Bernadine Durley Date: 5-7-84
      101. 1984     May 14     Praecipe for witness filed
      102. 1984     May 14     Subpoena issued
      103 . 198 4   May 16     J379 P260 Entry of findings, guilty (count
                               one) aggravated murder , guilty as to spec-
                               ification I of count one (prior murder)
                               guilty as to specification II (firearm) and
                               guilty as to having weapon under disability
                                (count 2), Bruewer,J, Stitsinger,J , Moser, J.
      103A 1984     Jun 22     J379 P503 Entry ordering presentence inves-
                               tigation and psychiatric exam for mi tigat:ion
                               in imposing death penalty to be provided by
                               5-24-84, filed, Bruewer, J., Stitsinger, J.,
                               Moser, J.
      104. 1984     May ' 25   Praecipe for witness, filed
      105. 1984     May 25     Subpoena issued
      106. 1984     Jun 04     J37~ P828 Judgment conviction entry sentencing
                               defendant to be converyed within 30 days to
                               Southern Ohio Correctional Facility as Lucas
                               Hi l ls and that on the first day of October 1984
                               defendant shall be electrocuted until dead by
                               the Warden or deputy warden of said faciltiy
                               a nd further ordered as to sentence upon the
                               second specification a term of actual incar-
                               ceration of 3 years pursuant Section 2929.71
                               0. R. C. to served prior and consecutively 1.vith
                               any other term of imprisonment i mposed he:rein
                               and further confined at S.O.C.F. for definite
                               term of 1~ yrs. and pay cost, Judge panel


                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
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     CASE NO.       CR83-12-0614          -6-                     CA89-09-0123

     NO.    DATE OF:          FINDI NGS, JUDGMENTS, ORDERS AND DECREES

     107.   1 9~4    Jun 11   J3~0  P1 17 Opinion, filed, Bruewer, J.,
                               Stitsinger , J., Moser, J,.
     108.   1984     Jun 11    J380 P118 Notice to Supreme Court of Ohio
                               of sentencing as to death penalty imposition,
                               filed, issued to Suprem Court of Ohio and
                               Court of Appeals
     109.   1984     Jun 12    J380 P154 Entry appointing Jack Garretscm,
                               Attorney filed, Bruewer, J.
     110.   1984     Jun 12    J380 Pl55 Cer tificate of attorney fees, filed
                               Bruewer, J.
     111.   1984     Jun 13    Return Receipt of: Supreme Court of Ohio
                               Signed: R. Eaton Date: 6-7-84
     112.   1984     Jun 18   Notice of Appeal, filed, CA84-06-0070
     113.   198 4    Aug 01   Motion for transcr i pt at State expense, f iled
     114.   1984     Aug 01   J383 P0003 Entry ordering transcript at State
                               expense, filed, Bruewer, J .
     115.   1984     Aug 16   Motion for stay of execution date, filed
     116.   1984     Aug 16   J383 P473 Entry granting stay of execution
                              date, filed, Bruewer, J.
            1984     Aug 16   Copy issued to S.O.C.F. record clerk by
                              certified mail and attorneys .
            1984     Aug 16   Copy to Court of Appeals, Supreme Court of
                              Ohio by certified
            1984     Aug 20   Return Receipt of: Wallace E. Stein - Record
                              Clerk Signed: Wallace E. Stein Date: 8-17-84
            1984     Aug 20   Return Receipt of: Thomas L. Startzman
                              Signed: R. Eaton Date: 8-17-84
     117.   1984     Sep 25   J383 P840, 843 Entry for payment of trans1cript
                              of trial proceedings, filed, Bruewer, J.
     118.   1984     Sep 26   J383 P841,842 Certificate of transcript fee for
                              indigent
            1986     May 27   Mandate , filed - CA84-06-0070
     119.   1986     May 27   Separate opinion/2929.05(A), filed
     120.   1988     Sep 29    (Sep 14., 1986) Mandate- remand ing
     121.   1988     Sep 29   J31 P210,211 Judgment-reversing and remanding
                              death sentence and affirming judgment conviction,
                              Tbomas J . Moyer-Chief Justice
     122.   1988     Sep 29   Defendant's motion to return defendant for
                              sentencing and memorandum filed
     123.   1988     Oct OS   J31 P476 Entry ordering new hearing on 10-14-H8
                              at 9:00 a . m. and ordering release to custody of
                              Butler County Sheriff from Luscasvil le, OH
                              Penal Ins titute to attend hearing filed, Moser, J.
     124.   1988     Nov 04   J33 P0076 Entry ordering defendant ' s convey
                              to S.O.C .F., Bruewer, J.
    125.    1989     Jan 19   Motion for scheduling of date for sentenci.ng
                              hearing before a three judge panel.
    126.    1989     Feb 06   J36 P663 Entry ordering h earing before Judges
                              Bruewer, Stitsinger and Moser, L-24-89 at 8:45 a.m.
                                                                continued




                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
                                                               APPENDIX - Page 1168
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      CASE NO.       CR83-12-0614            7-                     CA89-CI9-0123

      NO.    DATE OF:            FINDINGS, JUDGMENTS, ORDERS AND DECREES


      127.   1989     Feb 10     J 3 7 P0032-35 Certificate of attorney ft~es,
                                 Bruewer, J. ($2,670.25)
      128.   1989     May 09     Motion to extend time to file pre-trial motions
                                 and motion to continue sentencing mitigation
                                 hearing, filed
             1989     Jun 05     Notice of hearing date, {Moser, Stitsinger and
                                 Bruewer) August 04, 1989
      129.   1989     J un 28    J42 P214 Entry attainting John Garretson;
                                 Mike Shanks and Time Evans as counsel, filed
                                 Stitsinger, J .
     130 .   1989     Jun 29     Withdraw! of jury waiver
     131.    1989     Jun 29     Motion for life sentence , filed .
     132.    19 89    Jun 29     Motion to withdraw jury waiver
     133.    1989     Jul 21     Motion to strike defendant's withdraw! o:f
                                 jury waiver and memora ndum
     134.    1989     Jul 21     Motion for further psychological evaluat:i.on,
                                 appointment of a social worker to prepan~ a
                                 social history and for payment of extra-
                                 ordinary expenses for said experts
     135.    1989     Jul 21    Motion to prohibit three judge panel from
                                 resentencing to death and motion to disqualify
                                 panel
             1989     Jul 25    Return Receipt on subpoena for: Sgt. Gordy Pull-
                                man Signed: Gordy Pullman Date: 7-21-89
             1989     Jul 25    Retu rn Receipt on subpoena for: Oscar McGraw
                                 Signed: Oscar McGraw Date: 7-£1-89
             1989     Jul 25    Return Receipt on subpoena: Herb Wendler
                                Signed: Erwin Wendler Date:       7-25-89
     136.    1989     Jul 24    J43 P534 Order-transport to hearing {on remand)
                                Bruewer, J.
     137 .   1989     Jul 24    Motion to renew tretrial motions
     138.    1989     Jul 24    Motion to permit defense to admit all rel.evant
                                evidence at the sentencing pleas
     139.    1989     Jul 26    Memorandum in opposition to motion to prohibit
                                three judge panel fr om re-sentencing to dt~ath
                                and disqualify pane l
     140.    1989     Jul 26    J43 P664 Entry appointing Judge Bruewer t:o
                                serve in the gerera l division (trial division)
                                in accordance with Rules of Court 1 Stitsinger , J.
     141.    1989     Aug 01    J44 P0031 Entry as to motions heard 7-21-89,
                                filed . ~ruewer,J., Scitsinger, J., Moser, J.
             1989     Aug 04    Return Receipt: Capt. Oscar McGraw Signed:
                                Oscar McGraw Daee:     7-27-89
             1989     Aug 04    Return Receipt: Herb Wendler Signed:
                                Erwin Wendler Date:     7-27-89
             1989     Aug 04    Retu rn Receipt: Sgt. Gordy Signed:
                                Gordon Pullman Date:     7-27 -89
     142.    1989    Aug 07     J44 P230 Judgment Conviction entry-findings
                                that affravating circumstances outweigh the
                                mitigating factor by a proof beyond a reasonable
                                doubt and sentence-to death(count one) and:
                                order to the clerk to issued writ, Judge panel



                                                           VON CLARK DAVIS v. WARDEN
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      CASE NO.    CR83-12-0614           -8-                      CA89-09-0123

      NO.   DATE OF:       FINDINGS, JUDGMENTS, ORDERS AND DECREES


      143. 1989   Aug 10   Opinion - J44 P388 (Finding that mitigating
                           factors outweighed by the circumstan,ces).
      144. 1989   Sep 06   Notice of Appeal - CA89-09-0123




                                                              COMPLETE




                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
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           VON CLARK DAVIS                   I                                               I AGI.i:HWi~'1'i~[l ii\JHDE.R
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                              Case: 2:16-cv-00495-SJD-MRM Doc #: 4-11 Filed: 08/08/16 Page: 100 of 105 PAGEID #: 1206




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VON CLARK DAVIS v. WARDEN
     CASE NO. 2:16-cv-00495




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      APPENDIX - Page 1172




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                THE STATE OF OHIO                                                                                                                  Term, 19_ _
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                                                                                                            COST BILL -            To Collect from De1'endant

                  CLERK: Revised Code Sec. 2303.20                                                                  SHERIFF: Revised Code Sec. 311.17

 1-For each cause, which shall mclude                                         15 00                       1-Serv. and ret. of warr. to arrest,        persons,
    Occkeling in appearance docket                                                                              per person                                             5.00
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         documents, e~cept subpena, on appearance docket                                                  2-Serv and ret. of copy or indict . each dell.               200
    Issuing certificate of deposit in foreign writs                                                      • Mileage
    Certilicate of opening deposition                                                                     3-Service and return of summons. writs, orders. or
    Entenng cause on trial docket                                                                                notices. 1st name 3.00 and         additional
    Entenng cause on motion docket                                                                              names, each                                             .50
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    Noting on appearance docket all papers mailed                                                               each person named                                      1.00
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    Preparing cost bill                                                                                   6-Servtce and return of venire,          persons, each       1.00
    Entering on Indictment any plea                                                                      ' Mileage
    Certifying on penitentlary cost bill that execution was issued                                        7-Summoning            jurors. other than on venire, each    100
    Entering costs on docket and cash book                                                               ' Mileage
 2-Taking        undertakings, bonds. recognizances, each                      1.00                       8-Calling action                                              .50
 3-lssuing        writs. orders, notices. except subpena, each                 1.00         5. 00         9-Caliing jury                                               1.00
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         certifying fees, each name                                            1 . 00       b oo         11-Taking prisoner betore Judge or COJJI1            oa.
 5--Calling Jury, each cause                                                  10.00                             per day                                                3.00      f..    j-
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          ot all the necessary documents. each                                15.00                      16-Poundage on all moneys actually made arld paid
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          demanding same. each                                                                                   real estate as follows. one percent
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Clerk                                                                                     J1 1. t o      Witnesses 1n Magistrate Court
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Other Fees tn C.P. Court                               II-                              IUJ..t"f. 15 6   Witnesses in Municipal Court                  t_ v
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VON CLARK DAVIS v. WARDEN
     CASE NO. 2:16-cv-00495
      APPENDIX - Page 1174




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VON CLARK DAVIS v. WARDEN




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                                                            COURT OF COMMON PLEAS

                                                             BUTLER COUNTY, OHIO

                               STATE OF OHIO                             *         Case No. CR83-12-0614

                                     P 1 a in t i   fiB i CommOJ\Pteas Cauti                        ..
                                                     RU1'LER COUNTY' OHl?
                               VS.                                                 ENTRY APPOIN~NG COUNSEL

                               VON CLARK DAVIS   MAY 7 1990
                                            -r:nWARD S. ROBB, JR.
                                     Defendan~ -          CL£lUC
                                                                   * * * * " *             oc:
                                                                                           CJ , -

                                    Upon application and for good cause: ~uown, the Court
                                                                                           (;:J ~    co
                               hereby finds that the Defendant herein, V~U~lar~Davis, is
                               indigent and unable to secure an attorney'for hifOappeal to
                               The Supreme Court of Ohio, and further finds that said
                               Defendant is unable to pay the expenses of his appeal , and

                                    It is hereby the ORDER of the Court that Timothy R. Evans
                               be appointed as counsel of record for Defendant in his appeal
                               to The Supreme Court of Ohio, nunc pro tunc- May 27,~~·



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                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                         CASE NO. 2:16-cv-00495
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